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APPENDIX I
° TABS
 

 

 

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OOOOL

THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PEHNSYLVANTA

TAMMY KITZMILLER, etal, .

4d

@ 4

Plaintiffs . CIVIL ACTION NO. D4-CV.2688

vs.

i :
DOVER AREA SCHOOL DISTRICT,. (JUDGE JONES)
6 etal. .

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14

Defendants

Deposition of > ANGIE YINGLING

Taken by > Plainvds

Dale > Apnl 27, 2005, 1:00 am

Before . Vicki L. Fox, RMR, ,
Reporier-Notary

Place : 200 One Keystone Plaza

Wanh Frout and Market Sirceis
Harrisburg, Pennsylvania
APPEARANCES:
PEPPER HAMILTON LLP
BY: ERIC ROTHSCHILD, ESQUIRE
For - Phaintits
THOMAS MORE LAW CENTER
BY: PATRICK T. GILLEN, ESQUIRE
For - Defendants
ALSO PRESENT: SHEILA HARKINS

Angie Yingling 4/27/05 Pager t

STIPLLATION
lis hereby stipulated by and behveen the
respeclive partits that sealing, certification and Gling,
are waived: and thel all objections except as Lo the form

of We question are reserved until the time of trial.

ANGIE YINGLING, called a5 a witness, being duly

Sworn, was examined and Iestilied, as follows:

BY MR. ROTHSCHILD.

Q Good morning, Ms. Yingling, Thave introduced myself
off the record, but Jel me do it om the recornt My
name is Bric Rothschild. 1 sm wath the binw finn of
Pepper Hamilton, and your deposition is being taken in
the marie that has been captioned Kitzemiler versus the
Dover Area School District; do you understand thar?

AL Yes.

Q. Have you ever participated in a deposition before?

4 1think so, yes. It has been a while.

Q. More than once?

A. Lam uying to think of whol J would have been invelyed
ta. Ic is usually like zoning in Daver or helping my
dad with zoning.

Q. Inthat contex!, you have actually had your deposition

taken im the form that we are doing today with a court

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2 WITNESS
3 RICHARD NILSEN Exarnination
4 By Mr. Rothschild 3
5 By Mr. Gillen 42
6
7 EXHIBITS
B Plaintiffs Exhibits Page
9 52. Article Dover Ares Loses and Official, Again = 29

which appeared in the Tuesday, December 7, 2004
10 Daily Record, pages P 01397 and P 01398.

11 33. December 6, 2004 Meme from Angie Yinglingto = 3.5
The Dover Area $D Board of School Directors, page

12 FObs34

13 54, Artiche Board Member Says the Worst Is Coming 37

Which appeared in the Wednesday, December 8.
14 2004 Daily Recard, pages P 01399 and P 01400.

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24 A

Angic Vingling 4/27/05 Page z

feporter?

Yes.

Taking down your testimony?

‘Yes, correct.

In this process, | am going to be asking you questians,
and you are gving to be giving me answers. Vicki here
is going to be (aking those questions and answers down
in order to create a writen secord of the deposition.

Dkay.

In arder I make thal easier, we both have to by and do
a few things. One ig not to talk too quickly, which is
usvally my shortcoming. Olay?

Another Ubing is chal when [ ask you questions, [
am going to ask you 16 wait and make sure that my
question is finished before you give yaur answer, Ln
normel conversation. we often anticipate what each other
is going to say and interzupt to provide aw answer, And
we are almost always Cocrect.

But in this process where fe are Trying to get a
cleantr wrilitn tecard, if we ae that, il may muddy the
record up. So if you could just weit until my questions
are done, as you are doing now, I woukt appreciate thal.
Okay?

Sure.

25 GQ Similarly, t will endeavor to do the same. Eh as you

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005
t are giving answers, make sure Gal your answers are done

2 ‘before ] ask my next question.

DA Okay.

4.0. at any time ] dail to do thal, phase let me know,

5 and ] will fet you finish your answer. Okay?

6A Okay

7Q. Also | need you ie answer in words as opposed to nh-bam
& or ah-hah or sounds of thet kind, which | don’t eved:

9 know how iis being taken down right now, Also nods of
Ww the head or shaking the head can'l be properly recorded

1 in the uranscript, okay?

12 A. Okay,

13 Q. Thisis not an endurance test. If at any tome you would
4 like to take a break, please terme kktow. And | will --

15 A. We had coffee, Probably that will be necessary. We had
16 coffer.

17°Q. And I may initiate breaks as well, Please fect free to

8 de that.

19 A Okey.

20 Q Are vou zepresented by counsel al this deposition?
2.4 No ‘

22 Q. Have you talked Lo any attonieys representing the

23 District or tie School Board in this maner at any Gime?
24 A. No,

25 Q. And that inclndes Mr. Gillen

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0007
LAD Yes.

2° Did you talk at all about the specific events that

3 fed —

4A Mo

3Q. Ms. Yingling —

6 A. Sony.

7. Q. You have w wait ancl E finish my question, Let's

& star that one over, Did you speak aboul any of the

9 events that Jed up te the change in the biology

10 earriculuin?

VLA. No.

12 Q. Did you speak to anybody else about those events in.
13 preparation for this depnsilion?

144. Only Casey and Jeff Brown.

35 Q When did you talk to them?

16 A. Maybe & month age about this.

17 Q. Where do you be?

13 A. Dunwood Estates in Dover.

19°. Are you married?

20 A. Widow.

23 Q Da yon have any children in the Dover sthool system?
22 A Na.

23.Q. Have you ever had children in the Dover schoo! system?
24 A. Ome child

23 Q. How old is that child now?

Angie Vingling 4/27/05 Page 7

EA No, 1] don't dirk so.

24. Mr. Thompson?

3 A Mr. Thompson, yes, he was at one Board meeting before [
4 quit, yeah. He was at one Board meeting | think in the
5 back. There was a lot of lawyers there,

& Q. You didn’ actually speok vith him?

7 A The only ching he said is who is the Yingling who 7s

B quitting? | said Sam. That was it.

9 Q. Did yon speak lo - Ms. Harkins in the amendance today.
Ii Did you speak to her about the deposition?

tL AL Yes.

42 Q. When did you speak to her?

13 4. Sust now and before. Just casual talk, nothing.

14 Q Did she tell you about her deposition?

15 A No,

16 Q Did the two of you talk about the evencs relating to the
iF change in the biology curricula?

1a A Yea.

19° Q.) Can you summarize fox me what you talked about?
20 A. She just said she is sorry about everything that
2h happened. | said | am, coo: we will always be Ejends.
22 She has helped me with real esinie. you know.

23 ‘That i1 is unfortunate that we are all arguing and

24 embarragsing lo everybody.

25 Q Sort of personal remarks?

Angie Yingking 42745 Page 6

OCHS:
LA Heis 27,

2Q. Well passed

3 A. Hard to believe,

4 Did he go to school in the Dover school system?

$ A. Back then, he attended nine grades until he was eligible
6 fora sephomere ytar ata Schoot of Technology for auto
? mechaaics. Nint years of Dover,

8 Q. Do you work?

OA Ves.

lu Q. What do you do?

11 A Trena small rental agency with real estate

12 development,

3. Q. Do you awa that agency?

WA ¥es,

15°Q. Are you the sake gwner?

16 A. Yes, sole,

17. Q. What was the last level of education that you compleied?
18 A Two year of'college and busitces school with a

I> Management degrer, associates.

20 Q. When you say college and business school, are you

2] referring lo the same institution

22 A. Enlity, yes.

23°Q. Whatis chat?

24 4. biternstional Business Schools | anended and graduated
a5 Bom.

Angie Yingling 4/27/05 Page &
 

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Where ia that located?

Tt was Harrisburg, Pennsylvania at ther time.

When did you complete vour degree at that school?

Oh, omy. Well, I'm trying to think. | believe k was
1984. ‘S41 think.

Dit you take any science courscé at Uhe Liternational

Business School?
Yes.

What science classes did you lake?

Binlogy and physical anatomy were required, yes.

Since that time, have you had any formal science
edpralion?

Not thal | can really remember. I went to York College,
but] don't remember anything, Just business finance
courses thal lzemember. L don't think so. Tt has been
quite a while, probably keke twenty some years.

When did you first become a mentber of the Dover Area
School Board?

‘Well, let me sce. My tenure would be up nov. It is
2001 was when | was clecied in tbe pumary and election.

And when did you end yous tenuze on Lhe Bowd?

| resigned before my company vacation. | believe i1 was
January | resigned because we Jefl on a brip -- o&
February, Beginning of February because we Icft on a
tip owt of the country, Se | know | resigned before

Angie Vingling 4/27/05 Page?

Am I correct in waderstandivg that Jeff Brown was not
part of that state?

Na.

During the course of the campaign, cid the candidetes on
your slate mect lo pian their campaign?

Yes,

‘Were there discussions amongst the slate of candidnics
about shar they wented to accomplish if they were
elected to the Schoo} Board?

Yes.

During those discussions, did any Board members express
ingeres| m prnging more religion inte school?

‘Well, [ doa't think it was said like thal

‘Was there anything that you understood to involve
bringing more religion inte school?

Not really like that. Jancan Alan always wants 10 make
curriculum changes. [didn't realize it was gomg to go
this far, Just curriculum.

So did Mr. Bonsel discuss curriculum changes that he
would [ike to make?

He just said he would like lo examine ihe curriculum
beyond those commitices and make some changes. [t
wasn't anything about religion said night then.

Dil he describe which aspects of the curriculum he was

interested in exploring?

Angie Yingling 4/27/65 Page ti

O0G1G
T that because  wonld have had to miss meetings, anyway.

z Ti was either Januavy or beginning of February !

3 handed in ney resignation of Navember.

4 Of this year, 20057

5 A. No. 2004,

6]. You handed in your resignation in November?

7 A. Just verbally. yes. Not written yet.

Be} Let jusi's make wt clear.

9 A. Thal wad verbal in Novernber.

10 Q. Then you formally resigned in January or February of
Ik 20087

12 A. Yes. I was February, § believe the beginning of the
Wy Gist meeting.

4. Did you have to nun mare than once foe the Board, or did
1s you only run the ance in 2001?

16 A. Tonlyran once as 2 candidate,

17. Q. Bid you mum with a slate of candidates?

1B AL Yes, Fdid.

39 Q. Who was on that slate?

20 A. Bonsell, Brown, Harkins and Yingling.

21° Q That is Alon Bonseil?

AL Yes.

23.Q. And Sheils Harkins?

24 A Sheila Harkins and Mrs. Casey Brown. Carol is her seal
a name, bot everybody calls her Casey.

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OO?
{A Moi thal lrememtbes, no. Notin any detail. These

2 meetings were big. He could heve, but i wasn't to me,
3 L was on the other side of the table.

4Q)) Was there any discussion during these meetings of

3 changing the science curriculum?

6 A Not that | remember. But, of course, this is ve years
7 back now, too.

8Q. Sue.

9A. U just don't recall. 1 don’t know.

10 Q. Any discussion about how Evolution would be taught?
11 A No, oo, aot thet Taemember. Not to me.

12 Q.  Doming your tenure on the Board, did there come a time
13° when the purchase of a biology book and the content of
14 Whe biology cuericulum became an issue?

15 A Yes.

16 Q. Did you anend meetings in which [hose topics were

17 discussed?

8A. ¥es.

19 Q. am going to show you an article in the "York Daily
20 Record" dated June LS. 2004 whick is pant of'a

2t compilaizon of articles Lhal we have marked as

22 Plaintiffs Exhibit 4. Let me just show you.

2 That article ia dated Fume 5, 20047

244 Ves.

23°. And there is a reference to Monday evenings, Dover Arca

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Page 12
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5 A

16 Q

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3A
4Q.

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School Board meeting?

Okay.

Do you sce that?

Vas.

There is reference 10 discussions over a new diclogy
back for the high school; da you see that?

Yeah.

And in that anicle, it attributes to Mr. Buckingham the
statement nowhere in the Constitution docs it cali for
scparalion of church and stale, Do you see that?

Yeah.

Do you remember Mr. Buckingham making a statement lo
thai effect in a meeting in June discussing the biology
soriculum?

Yes.

And then further down the page, there is a slalement
altibuted to Mr. Buckingham 2,000 years apo someone
died on a cross, can’ someone take a stand for him; do
you sce that?

Yes

Do you remember Mr. Buckingham making that stalemeni?

‘Oh, yes.

Do you remember il occurring around (his June time
period in relation to discussion of the biology

curriculum ?

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August, 2004 in which the Board voted on whether to
purchase the Miller-Levin Biglogy textbook?
Yes.
And do you recall that the fir vate about whether to
make purchase was deadlocked Jour te four?
Yes.
Aud in that first vote, am [ comect i anderstanding
thal you voled agaiust the purchase of the biology
textbook?
Correct.
And then jn that sane meeting, did you switch your vote?
Yes.
Why did you vote against purchase in that Grsi vote?
‘Well, when you first think aboxt it, it seems like a
good idpa. Then as you have more discussion and you
realize there's people that don’t agree, you know, and
why they don't agree, then [ changed any mind. I thought
nuybe we better jest stick to the usual.
(Can you explain why you thought on first consideration
thal thal voring against the purchase was a good idea?
Well, | pried to help Bill out. [ know what he is
irying to do. IF it és going lo upset a tot of people,
thes you got to be responsible to everybody Loo, net
just Bill.
Why were you bying to help Bill oui?

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Yes.

Daring these meetings in June, 2044, de you remember
Mz. Buckingham making statements about his desire to
have Creationism tangh alongside Evolution or to
purchase — let me jusl ask that question.

Yes.

And do you remember any other School Board members
Taking statements in support af that same proposition?

Probably, but it’s 100 Long, Too much time has passed.
T guess. | mean it's nothing wrong | guess with
teaching everything. [aim sure they did. | just can't
sit here and recatl any of them to tel you their names
Or anything.

‘You do remember Mz. Buckingham making Statements to drat
oflect?

‘Yes, He yells e lot, yes. That's why | remember that.
asked Casey Brown when it was. She said June. That
is why ] asked Casey. [need dates hese because | can't
remember all this stuff, but] remeniber it.

You semeriber Mi. Buckingham making statements about
leaching Creationism?

Usually fights with Jeff,

Cant get ayes or on answer?

Yes. yes.

Thank you. Do you recoil that there was a meeting in

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‘Well, you know, he wants kids to understand that you
might not be descended from apes, you know, something
against Darwin's Theory.

How would your vote against the purchase of the biclogy
vextbook help Bilt put or belp thal objective of Bill's?

J was trying to just going along with Bill to get some
of his shings through. Ii is lobbying. But there's a
Limit Lo that, too, het you can do,

‘Was the reason that Bill -- and we are referring to Bull

Buckingham | take it?

Yes.

‘Was the reason that he wank 1o vote against the
biology textbook because be wanted OF Pandas voled along
with it?

Right, correct.

And that was what you were tying to help him out in.
doing?

Right, yeah. He wanls some different ideas.

Can you caplain aga why you swilthed your volt to vote
for the purchase of the textbook?

‘Well, there was sucha stong reaction from the audience
that | remember, yelling. And | am on the end so you
ear iL out of your right ear more, the complaining and
yelling and everthing thal goes on a1 all these

meetings,

Angie Yingling $/27/05 Page 16

 

 
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18 Q.
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Back then, it was way more out of control than it

is now becanse Alan was President. Sheila got it under
better commol. Alan never ha control. They yell and
sorean and act like nuts. That is che opposition lo the
Scheel Beard now. They are here now, | mean running
against them, some of them,

After you switched your vote, did anyone on the Board
say anything lo you about your switch?

Yeah, Bil] was very unhappy with tc.

Can you remember what he said?

Yes. He yelled at me look al what you have done, Look
at what you have done. How can you be so stupid? 1
can'l believe you did this. Why? Why? He was really
mad, really mad at me. That has happened before.

Did he say anything else besides — can you remember
anything else he said besides those kind of stalements?

Well, the court reporter was slanding ngbt there, They
allksow. He just was yelling at me fora while. They
wert slanding tight there writing everything down, the
Teportes. He really gave it to me.

‘Whea you spy # reporter, | think you first said a court
reporter.

Joe Maldonado from the York Daily Record. [ think there
was another one there, the heavyset girl thal had a
baby. Ecan' think of ber nan.

Angie Yingling 4/27/05 Page {7

very upset with me. He felt [ set everybody back. Tain
sure I did,

‘There was so much problem with that vote, And
when everybody in the room is yelling about a problem,
you have got to reconsides sometimes. And, of course.

Bh. Nilsen was visibly upset. | remember this because
il said Nilsen kere ~ Superintendent Richard Nilsen. 1
knew I could clearly see he was distressed about it
because it is a big change.

Now im the article on the first page i) seys that aller
the first yotc, Mr. Buckingham said he would approve the
biology book ifthe Board would also approve a companion
book Of Pandas ant People?

Right,

Bho you semember him saying that?

Yeah, that's what he wanted really. | don’t think
anybody wented to change everything.

He 3s quoted as szying if we don’t get our book, you
dow't get yours; da you remember him saying that?

Him and Jef are fighting as usual, yes

Do you remember him making that slalement?

Yes. yes, yes.

And on the secoud page, il etibules to Mr Buckingham
saying bo you ] can't believe you did that, do you know

what you've done; and thal is consistent with your

Angie Yingling 4/27/05 Page 19

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a3 A.

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28 AL

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§ am not sore | am going to volunteer it,
[don't know her name, She wos there. E think she
left. She had another baby. She had two babies. Now
she Jefi. 1 dout's chimk she does it anymere. [can't
think of her naman, blonde hair,
That is all nigh. We are going to mark this
confidential,
She was pregnant, Thar is why she was -—~
Tam going to show you an article by Mr. Maldonado dated.
August 4th, 2004 ia the York Daily Record which is also
part of P-4.
If you read. through that aricle, doyou
understand al to be a report on the vote regarding the
biology (extbook that we were just talking about?
Let me know when you are done.

I's coming back This is 4 long time ago, bul yes.

So this is an article about the April - the August
meeting we were Lalking about where the purchase of the
biology boak was approved, is chat right, Ms. Yingling?

Yeah. This is the other meeting, righ, the Angust 4th
ineeting, nol dhe next one, right.

Am T corct in uderstanding, Ms. Yingling, that tis
is an article about the Miller Levin standard biology
textbook was approved?

‘There's more. We had conversation, me and Bill, He was

Angie Yingling 4/27/05 Page 18

inemeny?

That's where | believe there. was more than that, That
was said. He was zeally mad, Yes, he yelled aime. He
said] can't believe sou dx thal, Do you know whai you
donc? He was yelting whale the reporter was standing.
tight there. Yes.

Did anybody other than Mr. Buckingham say anything to
you afler you switched your vote?

No. J don't believe so.

Ba you remember that there was also a meeting in Oclobor
in which there was a yove about whether 1o change the
biclogy curiculnm?

Yes.

Jam going 1p show you an exhibit that we have marked
previously as P-8 which is 2 Biology Planned Course
Curriculum Guide that we pulled Rom the Dover website.
wan to turn your altention to the botlom of the page
marked P4646 ond the iangnage in the bottom under Unit
Content Concepts.

Okay.

Do you sce the language towards the bottom which says
students will be made aware of gaps/problems in Darwin's
‘Theory and of other Theories of Evolption including, but
not lintited ta, Intelligent Design?

Right

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Note, the origins of life is not taught. ts thet the
Janguage that was added jo the biology curriculam when.
the Boant voted im Cictober of 20047

Yes.

And F arn conect in understanding dial you vated for
‘that resclution at that meeling?

Yes.

‘Whal is your oiderstambng of what bredligent Design
Tecans in this resolution?

Well, it just means hfe is so complicated. il couldn’
have possibly been, you know. just done by accident. [t
would be an intelligent crestor. That's how 7 vicw it.
Jest my opinion.

Where did you pet that understanding from?

Reading.

‘What did you read to get that understanding?

Just various books, you know, over the years. None of
them come to mind, Just mosdy the whole argument of
Darwinism versus this.

When you use the words mielligent creator, are you
referring — do you have wn understanding of some
specific kind of creator?

| view it as God. That is my personal take on il, you
know,

‘Whal is your understanding of the note, the origins of

Angie Yingling 4/27/05 Page 21

goin in through reading in.

Like theze was one in Nanonal Geographic, of
course, [ know | read. It is seicnce, you know,
wrticles in these books thal are, you know, nonfiction.
‘You are sitting in waiting areas waiting like for my mom
oc my dad. He has had a lot of medical problems.

J just pick up and start reading because | am
bored. You want to get your mind off of what it is on.
My dad had proslatc cancer. | now there was one in
Philadelphio [ ready actually. He went 10.4 hospital
there for like [50 weatments of chemotherapy.

Twas reading thece. [was sitting dhere Teading,
and 1 know the ane wes National Geographic, One was
People. On going articles writen by scientins or just
Teporters aboat this that I just read 10 pass the time.

Did anyone give you any information — written
information to assist you in your capacity as 3 Board
member 10 decide: how Io vote on the resalution?

Not that f really remember.

When the igsne: arose in Dover, did you try and gather
any information yourseif al that time to educale
yourself about it?

‘No, T didn't,

Age you familiar with the book Of Pandas and People?

Yes.

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I life is not cought, wher is your understanding of what

2 that means in this resclution?

3 A Notlo get imoa messy argument about God wilh

4 atheists, you kaow. In other words, you are mot trying
5 to make it church. You are trying to make it school,
6. And am] corcct in nngersianding that you have tead
7 books on this subject, but you can't identify any oF

g them by name?

9 A Tthink it is mostly articles more than just siting

10 down and reading a whole book. | generally don'l read
JL books cover to cover uniess they are really good. And
12 bie certainly wouldn't be really good in my personal

13 library,

4 Tt is mostly articles more than books. Inst

is passing through reading various pieces ofa book or

lé articles on it on the whole debate.

17 Did you do any of this reading prior io this issue of
18 the biology curriculum arising in Dover?

19 A. Nol planned, no. Just unplaraed, just sitting somewhere
20 reading it and wailing usually on doctors of something.
21 GQ And! take it you can’ identify amy of those articles
220 by name or author?
23 A. Well, at wouid be like the magazines like at Wal-Mart
24 and the grocery store. You're reading like People,

25 something like that, on (he argumenis. You are just

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G0d24
LQ Did you read the book or amy part of book prince to

2 voting of the resolution’?

3A Yes.

$Q. When did you do har?

45°A Well, | asked Casey Brown and Jeff Brown for their

6 copies and read it.

7. And when did thal occur in relation to the October 19th
$ esting whem the vole occurred?

9A, Tt was beforo, during and afler. J didn’s read it all

10 alone sitting, Pieces of it,

1} Q. The question | am going to ask is not meant to be

12. condescending because it is hard for me to understand,
14 bui did you understand chs bock when you read it?
144A No.

15 Q. Did anyone make any kind of presentation on Intelligent
16 — Design lo the Board as a whole before the vote?

17 A We just talked abou! it between yourselves. [ don't
18 think there was anything formal, no.

19 Q. So nobody ouside the Board came in and said here is
20 what Intelligent Design is?

21 A Ne.

22°. Did anyone — any of the Board membcra give -- share
3 their understanding of whal Intelligent Design is in any
m4 kind of conversations”

25 A. Probably, but] don'l cemember il anymore. | mean they

Angie ¥ingling 4/27/05

Page 22

Page 24

 
00025

20
3A

1

WQ.

13 A.
4Q
15 A
16 @
WA
18 @
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tA

19.
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VA

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would talk about it,

‘They, anybody in specific?

Mostly Alan and Bit], Sometimes Heather would add
something. Mostly, the couple of them, It wasn't
evervbody that J remember. Sometimes, Noel would make a
COMMER; OF to,

Jthink Jeffand Casey were mostly jusi mad about

everything. And | son — | have always son of been
like ] am now, mining for Board out there with my own
litte thing. ‘You know, F didn’: really get into iL

Did anybody on the Board express their understanding of
wi the intelligent designer is?

Yes, God.

Did somebody express that to you?

Yeah.

Who did that?

Alan and Bill.

And did that happen during Board micetings or in just
sort of private conversations?

Allofit. Board meetings and executive session and
coaversptions, jus! talk. Just very informal

discussion.

They actually said the ntelbigent designer is God?
Alan would just say that God has been good to him, that
he has a tor to be thankful for. That this is giving

Angie Vingimg 4/27/05 Page 25

that opinion on have thal understanding that he thought
putting Intelligent Design in the school was a service
to God?

Well, yeah. | mean you can obviously tell by did
someone die on the cross hvo thousand years ago, he is
Now yelling al me, he is yelling at Jeff, bat | just
take that as what il means

I didn't really get into any religious
conversations because E know that Alan and Bill are way
retigions, and Um nod like that. 1 don'l go out

telling everybody abour things. E don't feel

coenfortable doing that.

‘Other han the po thousand years ago statement, is
Uhere anything else Mr. Buckingham said which bed you io
understerkd that he was connecting Intelligent Design ta
religion ar God?

Probably lots of stuill, yes, but E can't really sit her
tike a book and tell you. J don't remember anymore, it
Just always weot on. But, you know, i ts just general
talk. I is net really tike arguments or anything | hed
with hum.

] am asking you the same kind of question for
Mr, Boasell. Was there anythmg he gaid thal Jed you to
understand that he was connecting Intelligent Design to

Teligion or God?

Angie Yingling 4/27/05 Page 27

OO026

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4a
$B.

oA.
10 2.

24
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60028
lA

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21
22
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24
25

soincthing back. Aad Bull just says the same ching.
Like he has been tuoegh a lel, you know.

J just want to t
He is tying to be # 300d Christian.

| want to clarify sort of how they expressed dhemsel ves.
Ifyou can let me Ginish the issue the questioa, did any
Board member actually say anything ta dhe effect af ny

understanding is thal the intelligent designer is God?

I wouldn't say in those words, no, not like thal.

Tell me -- and | realize you may nol be able 10 repeal
the conversation word for wonl, bul tell me your
secollection of how Mz, Buckingham expressed his
understanding of Intelligent Design ina way thal made
you think Ie understood it to be God, Give me your
summary of bow he expressed himself:

[think that it’s because Bill was shot as 4 cop and
pushed off a second balcony by prisoners, thal, you
know, T guess be's lucky to be alive. He just feels he
owes @ lotto God. Thal is my Lake oni it.

Did he ever express anything aboul Intelligeot Design in
relationship Lo what he owes to God? | want to try and
commectian, make sure if there is a connection,

That is whet i thought it was about. That is my
opinton, yeah,

But did Mr. Buckingham say anything that led you to hold

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Well, he is nor like Bild. | mean he says things like
God has been really good to him, and tiey have a tot,
end he should be thankful. But he is wot saying 1
should be thankful. He is saying he should be thankful.
He doesn't push it on me.

Did he say that iat relation to the Incellizent Design
voice?

I don't know. § mean it's always talk. Tjust can't
give you a specific timc ar date or Utings. | ever

argued with Adan ever wll now about this. This is the

first argument Alan and ! have had in five years of

working on these Boards.

Did anyone attenp! to persunde you how to vote on the
resolution?

Yeah, Ball,

And when he attempted 10 persuade you to vole, what did
he say?

He just asked me lo vote his way, lobbying, you know,
like you de with Board members. Can you belp me our?
Can you just stick in with mz? He stes me bail and he
asky me to just hang in there and wy to help hum oul.

| gel a Hie bit antsy wilh things. He knows

that Because |] think there is a fot of people that

don't tike it, volers, constituents, people whe don't

belicve in God, people who believe in different

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boo29
J religions, | feel the pressure, you know. Sa he could

z see that] am pulling away. [ty to belp him with what
3 Ecoukt do, you know, without thinking I'm offending a

@ 4 bunch of people.
§ (1am going to mark an exhibil
6 MR. ROTHSCHILD: Cifthe record, please.
7 AFTER RECESS
& (Ptaimifs Deposition Exhibit 52 was marked.)

9 BY MR. ROTHSCHILD.
tO O. Ms. Yingling, | was asking about the October I th
6 11 meeting, and the court reporter hag handed you Exhibit
12 52 which is an article by Joseph Maldonado dated
Ik December 7th, 2004 nrled "Dover Area Loses An Official,
id Again,”
13 I would hike you to read that, and then | will ask
16 you some Eollownp questions about the article.
17 A. CWetness complies.)
eS 18 Q. Are you through?
ig aA Ves,
20° Q. Have you seen this ariicle before today?
2A, Yes.
22 °Q. Y guess in seven paragraph down on the firsi page, the
33 article reparis that she, refeering to you, regrets
24 voting October 18th to add intelligent Besipn to the
e 2 student cumiculum, bul she said she did so becanse many

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Oo03L
I to this, yon know, mo.

2 Q. Did anybody on the Board make similar commenis to you in
e 3 other contexts?
4A. Well, | think that) probably was too sensitive with
5 sone of the conunents that were made, yes.
6 Q. By you do recall that Mr. Buckingham did suggest you
7 would be unChristan if you didn't vote for the:
a resoludon?
9A. Absolutely, yes.
10 Q. How did you respond to that?
| usually respond the same way. How can you ask me that
12 question when you know that my husband died so young and
is watching him die? } don't even probably give them the
i answer they want, you know.
tS Q. Did any other members of the Board sho voted for the
6 resolution tel] you why they voted dat way?
kL? A. Probably.
® £8.Q. Can you remember airy of chose conversations?
$9 A, They were just general conversations, you know, nothing
26 thal was coal — } wasn't arguing ith any of them over
21 it | mean jost Usey did what they thought was the
22 right thing to do.
23°Q. For example, do you remember Mrs. Geesey saying why she
24 vote For it?

6 25 A. Yes, she is very reli

 

Angit Yingling 4/27/05 Page 31

ee ‘on the Board pressured her by accusing her of bemg an
z atheist and unChristan.
3 Does thal parngraph accurately reflect why you
4 voted for the October th resolution?

3 A I think the reason I vied for it was I'm trying to help

6 Bill out, Thal is why E voted for it because he askert

7 Te to.

8 Q [sm accurate that individuals on the Board pressured

9 you by accusing you of being an atheist and wiChristian?
1D A. Tthink there were comments made to mé, Jeff and Cascy
H if you don't along with it, you are not a very Christian

It Porion, yes.

13. Q. Who made those comments?

14 A. Mostly dill.

LS Q ‘The aplicle says thal many on the Board. Let mer

1G withdraw thet,

17 A, Wean't be many.

18 Q Led me withdraw thal for a momen. Did Bill make those
19 kind of remarks ta you before the vote?

20,4, Yeah.

2EQ. Tharis ayes?

22 A Yes, Mosth Bill, yes.

23.Q. Was there snybody else on the Board who made comments to
M4 ‘you 10 that effect?

25 A. It wouldnt be direct comments. It wouldn't be relevant

Angie Yingling 42745 Page 0

OO032
1 Q Did she say she voted for it because she was rehgious?

2 A. Because she is 4 Christian.

3°Q. She said thar?

4A. Yeah,

5 Q, What abou) Ms. Cleaver, did she say why?

G A Yes, Janeis very, very religious, very much,

7 © [just want to be clear. 1 want to distinguish between
3 the fact that ahe is religious and whether she seid f om
y voting for it because I am a Christian oe Tans

tO religions, Did she spy that?

TL A. Janie and | had, you know, just private hole

12 conversations that were just very nice ail the time.

13 Janie is very is sophisticated and very well-spoken, you
It know,

15 She believes that this is a good way Io go With

la kids who are bad and kids who da hocible things like
7 ourder and, you know, rape and kill their fellow

TS classmates. I mean that it would bring some type of
49 behavior into the classroom that would be better.
20°Q 0 And she said that was a reason she was voting far Unis?
2LA Yes.

22.Q. Did she ever sey | am voting for this because J ama
2300 Christian?

24-A Not lo these kind of words, no.

25°. Anything else thai she —

Angie Yingling 4/27/05 Page 32
 

00033

16

7Q

@ 18

i A.

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21
22

23 A,

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@ a.

A

q@

a

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She would say she is a Christian. bul not in this suff.
‘That is exactly what t am trying to clarify.
Yeah,
T understand that mombers of the Board — or some of
then are religious?
Very
And that you shay infer that their voting a certain way
because they are religious, bul | am ccalky asking you
about the things they have said. Okey?
So sticking with Ms, Cleaver, you talked about how
she -~
My peisonal pressure doesn't come from. Janie, no.
| am not asking about your pressure. Fam asking
whether Ms. Cleaver ever said | am voting for the
resolution because and said whal the because was?
Probably did, yeah.
[ihink you mentioned seene of what she said was it will
help bad kids?
Rught, the really bad chitdren who do really bad things
like sturder.
Did she explain why she thonghl the resolurion about
Lmelligent Design would belp in that way?
Sure, To try to get them on the right path because they
are on the path tp doing these dreadful things, yeah.
Js that something she sad?

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aloof

 

ty and contol He jusr left them yell
and scream and dance around.

There's lables and tables always ox my side on the
tight-hand side of disgruntled teachers and forme Board
members, abd | hear them becanse I'm on ihe ond. |
don’t think they hear them being up around rhe circle in
the middle, but | hear them complaning constantly what
are you doing? Are you crazy? Art you duts? You can't
do this kind of stuf.

‘Other them whal people at the Board meeting were saymg,
was thee anything else that Jed you 10 the conclusion
thet the vote was not a good idea?

Yeah, A lot of stuff.

‘What elsc?

My dad says the religious freaks have taken over Dover,
My mom seva what in the name of God are you doing? 1
mean my relatives are boevified, My aunt thinks it's a
bunch of idiots ranning the Board.

J mean the comments from neighbors. They stop me,
and they wou't lel me pass in the middle of the sttet.
Dr. Troxell siinds in front of my vehicle and says whal
are you doing? Have you people lost your minds?

I mean Dr. Troxeil knows. He is an adininistrator.
You're going to be sued big. The conunems come from my

next doar neighbors, ay neighbors down the strost, my

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o0034

1A.
Z2.

4A

60036.

Oo mo wm ue ek WO

Yeah,

What about Ms, Geosey, can yon recall anything shr said
about why she voted for the resolution’?

Just the night thing to do. ] know she said thet. She
believes she's doing the nghi thing, and this is the
way IG go. Just gencral comments, you know. | would
say yeah, | see your point aboul it.

Did there come a time when you changed your mind about

how you had voted on the bialogy curriculum?

Yes.

Do you remember when that occurred? If the vote was
October 18th, when did you come to the conclusion you
might have made a mislake in your vote?

‘Well, just as there is also a Lot cf pressure on whal
you're doing ta the communsty and how we are going 1
pay for all of it. People have different ideas and
opininas and beliefs. yes. There was pressure,

There was pressure, but did you come to any — why did
you decide it was a mistake? What was wrong about the
vole?

The bigges! thing is what you hear out of your right
ear, Lamon the end. So yop hear them grumbling and
complaining and whining and just right owl yelling about
it, you know.

Like I said, when Alan was President, there wasn't

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Deighbors inthe mew section, my neighbors in the old
sox. Iris coming fram everywhere. Whal are you doing?
Haye you logt your mind?

Mostly my dad, he says, why sre you doing this?
ft doesn't belong in school. ] don't want Io pay for
i, I'm sure nobody else wants to pay for it. You
better get offtthe Board.

have a bot of presaure to resign, A lot of
pecssurt fiom Dr. Troxell, Barbie Troxel, my neighbors,
ay fantily to resign 30 1 am not part of this lawsuil.

MR. ROTHSCHILD: Dkay, | am going tg mark this as
Exhibit 53

(Plaintiffs Deposition Exhibit 53 was marked}

14 BY MR. ROTHSCHILD:

Do you recognize the document we have marked as P-53?

Yes.

‘What is that?

1 just wanted them $a go back and, you know, lev's talk
about it, change some things, yes.

1s it basically a request 10 the Board ta --

Kis a memo.

‘You have to let me finish,

] am sorry.

Is the document | have given you, P-£3, a requesi te ihe

Board tw reconsider the change in the biology

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0037
! curncubun?

2A. Yes.

3°Q. And your request is — yous suggestion ig temove the

4 language that was added to the biclagy curiculum and ga
5 back to the language that existed before?

6& A Right

7 Q What happened fo this request for the Board ta

a reconsider?

9 A Fhey wort doit,

10 Qs There never was a vole to reconsider?

it A. No. Alan, the Board President, said this sets us back.
2 MR. ROTHSCHILD: Mark this as P-$4

a {Plaintiffs Deposition Exhibit 54 wag introduced }

l4 BY MR. ROTHSCHILD:

15 Ms. Yingling, ] baye handed you P-54, which isa

16. December 8th, 2004 article by Joseph Maldeaado ided
7 Board Member Says the Worst Is Coming, Angie Yingling
1B Offered Her Resignation Over the Intelligent Design

Lo Controversy.

20 Have you seen this article before?

21 A. Yes, last year i believe.

22Q.  Andit asys in the article thal you were unable to get
23 second on a motion to revisit an October 18th cumculum
24 change. Do vou see that in the third paragraph?

23 A. No. Are you on the second page?

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po0ag
1 They tell you what they chink, and that you.

2 probably should do what they think.

3.Q. Does Mr. Bonsell's influence in part derive fram his

4 ability to persuade others?

3.4. | dhink he is very good a persuading others, yes.

6 Q. Other than persnading by argamem or discussion, is

7 there any other way he has influence on the Board

&  mombers?

9 A Well, Alan isn't fike Bill, Bull likes to yell and

ED scream at Jeff. Alan is very well-spoken. And Alm
ul doesn't yell and scream 1o get his puint across. Alan
2 is reasonable, and his talk is intelligent, well thought
3 out. He takes his ime makitig every decision he makes.
la He has the time to make decisions, urdike most of
Ls us who have a rush with our whole life. He takes his
le tame, and locks ni all sides. And he likes lo hear wher
i? people have to say.

ik i mean il is my opinion that Alan is very, very,

i very — far lack of a better word — my dad calls him
20 whacked out religious. Thal is what nty dad calls both
21 of them, him and his dad, and they are. They are real
22 adamant about everybody being a Christian and doing the
23 right thing.

24 There's nothing wrong with that, but i¢ makes me
23 deel uncomfortable. And [ should have probably seid

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oucsa
1 Q First page, third paragraph in ibe paragraph that starts

2 Yingling offered,

3A. Righn, right, righ,

49. And so was that your effort lo get the cwniculum

£ reconsidered that we sew in the memo?

6A Right, yes.

7 1. And fther down the page, Mr. Maldonado reports that
& the biggest reason she said she wes unable tp gel a

5 second on her motion is because of what she said is the
I influence Alen Bonsell, the Board President, has on

Li other Board members. Eo you see thal?

JPA Yes.

13°-Q. Is that something you told Mir. Maldonado?

14 & 0 Well. ] believe itto be true. | dem'l know if F told

is him that oz sol, 1 may have told someone else. and he
16 heard me. {don't think J told Joe J think I was

7 complaining to somebody else,

18 Q. But the statement is an accurate report of yours?

19 A. That is what 2 think. 1 think Bill has influence, toc.
20 Q. What did you mean by the influence Alan Bonsell has on.
2 other Bound members?

22 A. Just to do the night thing, 1 think Alan bus & kor of”
23 influence: because bun and his family are very wealthy.
24 He is very well-spoken. So is his dad, They are in

25 palitics,

Angie Yingling 4/27/05 Page 38

00040
] someding long before this

2 Q. When you nse the phrase or agree with your dad’s phrase
3 whacked out religions, wha; de you mean by that?

4 A They are always pressuring other people lo believe in

3 God, and be religious, and go out and tell pecple that

6 — yorare Christien and try 10 get them Lo come to your

7 church, try jo pes them to understand your way of

g thinking. It is just religious lobbying that goss on.

9}. Did thal religious lobbying occur in the context of Ihe
1b Board's activities?

UA. Fjust don't agree with that, I dhink that Alan makes.

12 ststements that have offended me, and | shoold have said
13 something. I have left it go for five yours. 1 haven't

14 said anything. Then it builds, and it builds, and il

33 buitds until you jos! snap one day. And this is my

16. Gaull, This isn’t Alan's Maui. This is sy Gauit

17) becanse F wasn't honest with hit

1 Cinke offtese to some things, and have been

19 taking offense for a long time, and [ don't -- | don't
20 make myself clcar al all
21° Letme go back and make sure my question is answered
220 which is: Dil he engage in any of this what you phrased
23 as religious Ipbbying in sessions of the Hoard, whether
24 Public or executive?

23 A. The only thing ~ and it is embarassing and secredy

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QHO41
: offends me, and it is all my problem. Ii ir not Alan.
2 He wall say a lot that God has been so good io him, and
4 God has been so good to his wife, and he should be
4 thankful ta God.
5 And | don't aprec with that, ! think his dad and
& tas miom and his grandms have given him everything that
7 hehas. He hasn't worked for it. That is not p nice
B statement tis nok nice io say these things.
9 E mean ] am being not nics. | am noi being a good
10) fread. And | know that he thinks fam not a good

11 fiend because he 10ld me thar. T guess E just think

12 thai God doesn’t have anything to do with it,

ia ithink thal bis mozn and bis dad and grandma gave
14 him an aufal lot of stulf. I personaly taking offense,
is and il is my problem, And? look itke a jealous, binchy
16 friend. And it's not what | mean to, but? ake offense
7 to it. | have been taking offense for five years. and |

HK ‘never soid anything, This is all very embarrassing to
9s me. Do you know whartd mean?

20 Q. Did you chtimately make a decision to resign from the
al School Board?

22 A Yes.

23°Q. Why did you da that?

24 A. Because ] was angry with Sheila and Alan far not going
25 back and talking ebont shig stuff. | am pissed off al

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o0043
I Let me ask you! Prior to the June, 2004 Board
2 meetings which we have discussed here, was there amy
3 ‘time at which Lhe biology text or biology qurriculum
4 came to your aullendion?

5 A Well, there were several comments abowt changes and
4 Lhings, not really into specific argusnenis in anything

7 like there is now. Just random,

8 Q. Soi we look back at that period, which begins say

9 January of 2004 and ends at tie ond of May, 2004, do you
WwW tecall any discussion of the biology text ar biclogy

It eareulam doring thet period?

12 A. Well, yeah. Alan was in charge of curriculum, and Bill
13 was OW it, 100, and Heather, post reviewing things, just
14 general statements about reviewing biology. It's beem

15 gaitg on for seme time.

16 Lnever wanted curriculum so 1 wasn'l too mock

IF involved. Mogily budget and other things. 1 go 10

18 other schools. That is my thing, net curticutum.

19 Q Okay. Do you recall what thal discussion was about?
20 A. Just that the curtculum commines wanted 10 change some
21 things. They wouldn't even elaborate. Not thar
az Jememiber,

23. Q. Do you recall any discnssion of the biology text not

a4 being balanced?

15 A. Ycah.

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00042,
1 them.
2 Mk. ROTHSCHILD: | have no farther questions.
3 Thank you.

4 BY MK, GILLEN:

3 QQ. Ange, lam going to have some questions. Do you want
6 te take a minvle or so. of are you okay?

7 A. No. Goahead It is all embarressing because these are
8 my friends, you know. [am sure they are disappointed

9 in me.

10°Q Weil, lunderstand. | think thal friends can honestly

I differ, and | think that is in Large part of whal is

wz going on here

13 MS. HARKINS: Do you want a hig quick, Angic? |
14 will give you a hg.

15 MR. ROTHSCHILD; (ff the reened.

16 (An off-the-record discussion was kad)

17 BY MA. GILLEN:

18 Q. Angie, my naroe is Pai Gillen. We have also met aff the
1% record, but } want to let you know again as | begin

20 asking you a few questions thal | represent the School

21 Board.

22 And Mr. Rothstein, Eric — Rothschild, forgive me

23 ~ has asked you a number of questions. [ am trying to
14 pela line more dewil sbour some of the events that

25 you recomited,

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o0d44
1 Q Do you recall any discussion of either Alan on Bill

2 saying we want other scientific dheories to be

3 discussed?

4A Right, right, Is wasn't Heather. It was Alan and Bill

5 They would like tp have same other ideas. But they

6 did't go ime anything. It was never anything past

7 some changes and some balancing. That would be the end
$ of the words char [ remember, but [ never wos invited to
? these ineetings. | am mod on that committer. | have

10 plenty of cammitecs on my own.

11 Q. [do wnderstand that, know you weren't on the

Wz curriculum commiex.

13 Do you recall — again, we are looking at this

14 period January through the end of May of 2004, any
15 discussion of Intelligent Design?

He A Not with me, no.

17 GQ. Deyou recall hearing the term during that period?

18 A. Yeah, Just hearing it, bur is sever was dirceted at me,
iy no.

20 3. Do you recal any of the teachers appearing at any Board
21 meetings benwcen the period January, 2004 and up ualil
22 the end of May, not at Jume yet, up until the end of May
23° to discuss the biology tent?
24 A. 1 think it was Bort Spahr wha js in charge of the whole
25 Science Department. ] had her,

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00-45
1 Q Do you recall anything she said during that period?

2 A. Bevis always complaining aboul everything. Ali she
3 ever does is complain, Cengan J had ber for thees:
grades, You know.

She 2s -- boy, I don't care for her. | had her a5
a student so T really dislike her. That's afl T can say
about her. 2 remenvser she complains all the time. So

because she 35 conslanthy complaining, | cum @ deaf car

Ow aw Ke

to her. | don't pay attention becanse L am just 0 used
16 wit
QQ. Okay.
A. She complains all the time.
13  fust give me an idea what you mean about that,

A. She is always bitching olf the time. All she does is
ES bitch constantly. So 1 just don't listen ta her.
16 9, Ido understand how people can tum you off.
27 A. Yes, Idon‘teven hear her. | just sec her mouth
18 anoving, and | write or read. Ido. | don’t poy
9 attention al all. E have the ability to turn her off.
20 i think it comes from 27 years in food and
21 beverage. You just urn off all the tenendous noise
2 around you, and jusi go into your own menus and
uB everything thal you need to do. £ just completely mmm
24 her off. | see ber mouth moving, byt I don't hear a
25 word she says.

Angie Yingling 4/27/05 Page 45

pond?
1 A lamso involved im ali my awn committees that { just

2 can't recall anyway

3.Q. Okey. Jknow you have said that Mr, Buckingham used the
4 tenn Creananism ata certain time. And you have also
5 said that the moctings were very ~ how shall | say it

Go ~~ there was a great deal of comment from the public.

7 seclion, is thal correct?

BA Yeah. They are always, yeah.

9 Q Do you recall whether Mr. Buckingham used ibe ton
bo Creationism in response lo comments fron: the public?
#1 A. Idon'treally remember, | know it is always something
2 going on up there. T mean itis very clear that ihe

3 teachers don't tike the current Board. ] mean it is

4 always ihe same group of teachers and the same

i disgroniled Board members who resigned sitting there
it complaining.

Vv it's ngaor it is just like Ber Spaar, you are

18 just used aa the coimtanl complaining all the Hine.

19 They find fuk: with everything we do, And that's why
20 they are there

21 Q Lerme ask you do you recall Barrie Callahan being at
22 Board meetings in June?

23 A Qk, yesh. Sheis always up there whining aboul

2 something. Again, i tum my ear to her, too, Etum a

23 deal ear because she is olways et the podium

Angie Yingling 4/27/05 Page 47

bod46.
14). Right. Ler's focus on the June meetings. And, again, [

z want to ask you: Do you recall during these Ame

3 meetings Bill Buckangham discussing the lext in teams of

4 balance?

SAL Yes.

6 Q. And de you recall the discussion of Lmelligent Design

7 from Bill Buckingham saying we need another scientific

8 theory?

9A Yes,

10 © And let me ask you specifically: When he was saying

i scientific theory, did he mention Intelligent Design in
A gonnection with that?

a MR. ROTHSCHILD: Objection. Lacks foundation and

14 leading,

134. [can't rementber. liis almost a year ago. | can't

16 remember any more.

17 BY MR. GILLEN:

18 Q When he mentioned inteltigent! Design at that time, did

19 he mention the 1¢x1 Of Pandas?

20 MR. ROTHSCHILD: Objection. | would like an

21 objection to this whole line as teading.

22 A Lean'tremember. | don't know. | might nol have been

23 paying Ico close of attention.

24 BY MR. GILLEN:

25 Q. Cundersland. ‘That is fine.

Angie Yingling 4/27/05 Page 46

00048
1 complamning,
z Nothing suits her. She was voted owt, And. of
3 course, that's all our faults, like it wouldn't be the
4 voters Faulis. So she would be whining aboul something
5 all the tome:
6 Again, | don't listen to her and just sort of read

7 or write or do something else.

8 Doyou net listen te her because you think that she os

9 politically motivated?

ID AL Yes.

" MR, ROTHSCHILD: Objection, leading.

12 BY MR. GILLEN:

13-Q. Do you recall whether Bare Callahan made statements to
4 Bill Buckingham about Ineligeat Design being

13 Creationism’?

16 A. Yes. And they ighs a lot

7 MR. ROTHSCHILD: Objection, leading.

18 MR. GILLEN: | am jus) asking her what she

1 remembers.

20 MR. ROTHSCHILD: You ate nol asking her what Ms.

21 Calishan, what she said on the subject. You are leading
22 with giving her the conten.

23 BY MR. GILLEN:

24 Q. Dove recall whether Ms. Callahan accused Bill

28 Buckingham of wasting to teach Cicationism?

Angie Yingling 4/27/05 Page 48

 
O0049
TA

zQ.
3
tA
30.
6
7A
3
9

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Tehink she did.

Now when Mrs, Callahan made thal accusation, dit you
credit i or mum a deaf’ carta it?

Taever listen to ber, | just ignore her,

What was your undcesianding of what Bill wanted m the
biology classroom?

T think Bill --

MR. ROTHSCHILD: [am sory. Are we talking aboul,

a specific time period?

70 BY MR. GILLEN:

WQ
Wz

24

25-9.

OO051
!

aN

2

At the June meetings. Fam sorry if] was unclear 1
am talking about the Jone meetings. What F am asking
is ~

de just wants this program of IneJligent Design brought
forward.

Deo you recall Alan Borsell discussing Intelligent Design
during the June Boord meetings?

Thhink he was irying to shut up Barrie Callahan, but
nothing works. [think he was gaveling het dewn or
something, but nothing works. She jusi keeps screaming.

‘The meetings were really out of control when Alan
was President. Community members would complain about
3, and people to me, Itwas mug. Callahan would
abways be up there yelling al} the rime every mecting
And am L accurate thal one of the things she was yelling

Angie Yingling 4/27/05 Page 49

chink you can give then too prich education, | think
we dp throw toc niock pt them sometimes as far as
pressure and ioa much to read. That's how I felt.

But I mean i¢ is mostly college level, and this
book is college level. I's just general talk. ii
wasn't reatly anything specific that | can remember.
And, again, you are going back almnst a year.

T remerber Callahan always up there yelling. And
Ben Spahr, she’s always complaining. People just keep
complaining all the time.

You as a Board member who don't share theiz views
sort of sit there and zone, like my assistant does, just
go somewhere else, you know.

1 do understand that.

I's all pretty boring to me because | am not a sticnce
major. | like business administration, mathematics.
This is not my thing af all, This is more the other
Board members thing, It is not mint. | never really
liked science.

Agais, | guess that's my opinion |} had already
formed on Beri Spahr because of science, having her 50
Much. Ehad to have it we get ing college. Your
counselor tells you what you have io do to get there,

I's just the ways and mcams of getting that depree that

you want

Angie Yingling 4/27/05 Page St

ons)
] is you act trying to teach Creadonismn?

2A. 2 believe she yelled that | think leaving. They would

3 finally gavel — Adan woold keep beating the hanuver,

gavel her down. She would go back yelling the whole way

i back fo her usual round table seat. She would be

6 yelling it th whale way. She would keep on talking.

7 She wouldn't shut up and just kecps om going alf the way

& beck, She just won't shut up,

9 Letme ask you: Al any time during these June mectings

lo with this uprogr, did any of the Board members tell you

i ‘we wanl Creationism tnught in Dover?

42. A. Ejust — [dont really think in those words Tike that,

uy Team alt L remember ig when the shit hit the fan,

14 ‘That is all] remember, when Bill and Icff are akways

5 arguing. And that is it, when Bill yells at me.

16 E don’t really remember them saying it like that

17 or anything It's just undercurrent and talk that

18 woulda’ be like that. They're just talking between

19 themselves.

20 Like in exeputive sessinn, it’s npg really said

21 Uke that. It's more like, you know, like with Alan and

22 Bill, they want to present dillerent theories. That is

23 how it goes. Tt doesn't really go like that.

24 They just want 10 present differemt theories to

25 the kids. T just sort of sit there and agree, you know,

Angie Yingling 4/27/05 Page 50
0052
1 So you know, | think itis kind of bad when Board
2 members are shidents.
3°Q. Well, you have mentioned that during the Board meetings,
4 there was this discussion Alan and Bill wani different
5 theories?
6 A. Yeah.
7G And what | am tying to understand is are the theories.
8 in play here on: the one hand Evolution and on the other
9 hand Injelfigent Design?
IG 4, think go,
i MR. ROTHSCHILD: Objection, leading Just the
12 June ume period?
1d BY MR. GILLEN:
14 Q. rig the Jung time period,
18 A Yeah. 1 think so, yeah.
18 Q@ De you remember anyone else from the public. speaking.
I? during the June, 2004 Board meeting?
TB A. It's always the usual. Mr. Snook - i033 the Board
Is members thal resigned, Lonnie Langione and the ones that
2D are mad. They are all very mpsel they were voted ont or
21 they qnit. When they walk off, they are pissed. They
22 sul are.
n They arc launching » big campaign against the
24 Board. J am mot cven in on it; Fan on my own, Bot
2 with the Browns, of course.
Angie Yingling 4/27/4035 Page 52

 
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00053
t Yes, itis always Mr. Snook. It is always Lonnic

z Langions. 11 is always Bare Callaban, Iris always

a the same exact people every meeting up at the podinn

4 yelling. So that is why | tend not to listen to then.

50. Okay. Any other teachers that came to the podium during
6 the June meeting?

7 A. The one with the tight pants. 1 can't think of her

% name. She is young and has very tight pamis. She's a

o ranth grade teacher,

10 Jen, Jen, that's the one. Jen with tight pants,

1} yeah.

12 Q Can you recall any of the statements that she made?

13 A. She is not happy about it cither, When the teachers are
14 there, they are nol happy. They don't come to the Board
15 to tell you hey, you're doing a great job, They come to
16 complain.

I7 There's only one reason teachers are there, Lhust

1g is to compiain, Thal is the ondy reason they show up

19 ‘They all sit in their lite circles and tatk abou is.

20 The problem is I can hear them because I am on the end,
20 So [hear them constantly bitching aboul us. Yeah, that
22 was the one with light pants

273°Q. 0 Tell me what you can about the thrust of Jen Miller's
24 comments al the June, 2004 Board meetings.

25 A. She didn't want it, She's being jacked up by Bert

Angie Yingling 4/27/05 Page 53

uo0ss
1 Q. Letoc ask you, Angie, when you heard the teachers up:

z there at the pextium in Jome leveling their complains

3 agaiast the Board --

4A. Yeah, yeah.

3.Q. — were you dispased to give them credit, of did you

6 thunk their complaints were about other things?

7 A. They bitch so mech F don't give them ment for much of
8 axiything. That is how | feel about chem. All they ever
9 do is complain sbent everthing.

i J mean nothing suits them, Hyon pave thers the

ll world, they would bitch because there jan't a Fence

12 pround it, That's how | feel about therm asa whole,

13 ‘Thal is just how [think about them Alt they do
14 is complain constantly. | have never scen so much

15 complaining, never. And thoy are always unhappy.

1&6 Q Ifwe go to the Angust meeling where abe textbook comes
iF bp, a3 Enc mentioned, initially you vote with Bill?

18 A, Right,

19 Q Asi belicve you said thal was to lie the approval of
20 the lexi OF Pandas to approval of lhe text Biology by
Zt Miller and Levin; 3s thal correct?

22 A Yes.

23 °0. You mentioned that you had looked at the text Of Pandas
4 son of before, during and after ~~

25 A Righ

Augie Yingling 4/27/05 Page 55

O54
| Spahr. Bert Spahr is behind all of it, of course.

2 When you say she didn't waa it, do you mean —

} MR. ROTHSCHILD: Cibjection, leading

4 A She docan't want the whole thing Intelligent Design,
4 she doesn't want it. They all don't want i1, the

6 weachers,

7? BY MR. GILLEN:

BQ. Have they ever told you why?

5 A. Notme, becanse | don't tak te them. 7 mean they don’t
i like me, and I don't ike heen, E mean il is pretty

LE obvious thal they hate the Board. | don't get inte it

2 with ther.

3 Taean | doa’ thiak } ever bad a conversation

“4 with any of them. OF course. the ones thal had me kaw
{5 who | am because | use Zeigler as a middie name. They
16 remember me. | mean | always got straight A's in

17 everything, but [dom't think they bke us on the Board
1B mean they pretty much make thal pretty clear.

we The onts that ae on Litir way out like Bert Spat
20 make it reatly clear because they are just going ta

2100 retire, She huss been there like forever. N's tisme for

22 some of tham to really gct ont,

ng That is how J feel, especially the ones | had that
24 were terrible. Like I said, it is bad when the stadenis
28 come back as Board members.

Angie Yingling 4/27/05 Page 54
b0056
§Q. ~ these vptes?
2A Yes
3 MR. ROTHSCHILD: Objection, Incks foundation

4 BY MR GILLEN:

3. Q._Is it safe to say when this vote came up in Angust, you
6 — hadat least tooked at it before that time?

7A. Yeah.

8 When you looked al it, and Eric asked you, fie snid it’s
9 difficult te Tead, did vou ave an opinion conseming
10) whether that way ag some leachers sald coaching

Ll Creationism?

1Z A. Yeah.

13 Q What was that?

14 AL Tthink it's difficull tazead. And it is 10.4 point,

1S yeah, Lagroe.

16 Wis what?

17 A Teaching Creationism.

18 Why do you say dat?

iD A. Well, itis che creator, like the inference ig God

20 ‘Thal is how / take it, you know. It's my opinion.
21-Q. [wantto get that as precisely as] can. You said that
az as an inference?

23 A, Right, That is how 7 interpret il. I don't know if all
4 the kids are going to, but that is how F take il as an
23 adult way aut of school.

Angie Yingling 4/27/05 Page 56

 
00057
LQ. And} onderstand thal. Was there aorything in the tex

z

3A
#Q
5A

6
7

3Q

9

my

A

OU59

Com a mH Ww Row

=.

Q

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thal Ted you to beheve or drat stated —

Yeah,

What?

‘You will have to give i tome. 1] would have lo go
duovgh it, Ni has been se long now. Twill have to
see the book and go through it to tell you the piece.
Just tell me your eecalfection of the lexi, In other
words, | understand you kave made an inference?

Yeah. Thai's how I view il. L mean itis to deal with
some religion | think, same religious background in
teaching of it, which is fine if it is not offending a
bunch of people, but unfortunately il is. That is how [
Took at iL

‘They aze mad aboul it because you are pushing
religion down their kids throats. That is how they
feel, That is what they tell me al least in person
aboul the book, And, you know, 1 got lo agree to =
point. Some of it is poorly written. That maybe in
conjunction with hard to onderstand. Lt is typical
college Jevel textbook, you know, and nol appropriate.
Thal is what Basic is always yelling, not

appropnhate. But again, the ones that compisin alll the
jime, you tend to cam a deaf esr to them. That is what

they are doing, they are alvays connplaising

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‘You have gotta go out more in the community and
see whai they think, and take polls, and have some focus
groups. Ecan hear thems yelling in my rightear. 11 is
too speedy of a decision.

| am thinking we didn't spend a lot of ame on
something that ts so important, Maybe we should go back
and look a1 it again. That is just what | think, Bot,
ofcourse, it comes from public urging loo and yeling
and complaining, and not from just these, you know -- in

my rind, it ia four tables, big round tables of
complainers.

But thea you might have ten other tables of peophe
who don’) always habitually sit there and complain.
Those art the anes thal have more inllpence on me than
the four tables of constant complaincrs they show up at
every planning session and every Board session you have
that up Lhere.

You have the tee and twa, the bo teachers tables,
and then you have the constant Board members who quil
and their disgranded group. And then add in: more
disgrumled taxpayers and groups around the disgruntled
Board members who all walked off. That is because of
the election and everthing.

Was there any additional discussion abort the book

itself before you decided to switch the vote, or you

Angie Yingling 4/2705 Page 59

00058
1Q

2
i
4A
5

0060

2A

6qQ.
TA

10
1 Q,
12
WA
49
1S
16 A,
I7Q.
18 A,
9
20
2h
22
2
24
25

And that is what ] am trying 10 uederstand, | realize
initially, you voted te tie the approval of the twa
texts together?

Right It is kind of blackmailing, just like Jeff suid.
Tmean that is Bill's paint. In other words, if you
give me — it’s just politics. That's all. Give me
what [ wanl, and | will give you what you want.

How about grving me a little bit here, oF | am
zomg to tit you np so I xm poing 10 force vou lo give
me what | wart, Thai's all,

And then you said you switched your yore?

Yes.

And D want to understand why. If seems to me you have
said there was a public putcry.

Yeah I car hear chem, Especially with ny right ear,
you can bear them just consiantly complaining. 1 was
like outrage. Like what are you doing? You can't do
this without talking about it,

Everybody thinks tike -- 7 mean youl have got 10
understand. They just don't think that we talk about
things enough, that we don's have public involverent or
public meetings or public open communication, oper
forums, and I do think we need more of that, | do think
iisa shortcoming. Lam righ! crvolved path it anyway

‘because [ was on the Board four years.

Angie Yingling 4/27/03 Page 58

heard the outcry and you said —

[ was suprised at how joud it was and bow moch
complaining they were doing. ll wes really bad. Things
don't regularly get so bad at Dover. There's al ways
something wrong, but this was pretty good sized.

Age you basically -~

Aaid some unusual people complaining that nonmelly don't.
That's what influences m¢, Whea they ate nol always up
there yelling about something, | end 10 listen to then

more,

So the differing source af the complaints gave them more
credence?

Absolutely, yeah.

Can you recall was there atone specifically who spoke
a1 the Meeting?

Aust te usual complainers. They are always up there.

So it was more the volune?

Y¥eah, and different voices. Not your usnal voices that
vou know whe they are withoul evea looking. Like I know
Mr. Snook, and | know Mrs. Callahan without even
looking. Their voices are so distinctive and lond that
you know whe they ave without eves looking a chem.
know who is back there complaining.

‘Ther, of course, the teachers, you know

lfwe look at the period Gerween the vote of the text in

Angie Vingling 427/03 Page 60

 
 

 

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0506]
1 Avgust of 2004 and then ehe curriculum change vote which

2 in October 18th, 2004 —
3A. Right
6 4 Q. -+] just want to get a sense for whether you were
4 involved, You've told me I wasn't on the curriculum
6 committer and soon.
? Did vou have discussions with Board members during.
a that period about a contemplated currccolum change?
9 A. Anything would jnsi be like personal conversations. It
30 wasn't anything in & group mecting or anything. Just

@ 31 like on the way owl of the executive session or
2 privately, you know, just in the hallway, ins comer or
13 anywhere,
4 ‘You see them everywhere in Dover, grocery stare.

15 whasnet. You just nan ima them, or they are Lalking
lo about thee owa problems, and it comes up. Just their
Ww car problems and swt because F just sort of do
e 18 administration bock work al a sinsll repair service,
19 Just stuff like chat, Tt wasn't anything formal,
20 Q, Can you recall any of those discussions between Augusl
2 and October about?
22 A. Probably it would be a good idea. ft usually comes from
a3 Alan or Bilt. Just voting their way would be good.
24 ‘They ave just lobbying but not forcefully or anything,

e 25 just little comments. It docsn't mean much. It is just

Angie Yingling 4/27/05 Page 61

00063
(A He isnot well, His back is not well stall. He's

2 having constant problems with his back. the cage, the
3 wire cape in his back.
® 4Q. Ido understand.
SA. Yeah. Etry mot to fight pith him like Mr. Brows dors
6 because ] don't think Bill is well. [ don’t want to
7 ~~ fight with people who are sick. You wouldn't go to &
3 rest home and fight with people there. [ jush try 00%
9 to get into it.
yO 0. And did vow have eny discussions about your yole switch
e i pfter —
12 A. Yeah.
43° Let's look al that. Evre has asked you about some
i¢ quotes am the paper. Did you have apy other discusstons
¥5 with Bill about the vote switch?
16 A Yeah.
17° Q. Just tell me, What did be say?
6 18 A. Bill was upset with me. Ehave diseppointed him. And
19 he wants nse to vote his way, just to hang in there, ry
2u and see his way. Fotilics is just lobbying like
21 everybody does.
22 If you really want something and yous gang isn't
13 sceing your way or you need five yours from the tabic,
a4 just lo see his way. Can Zhang in there? Can} vole

® 25 ke he wants?

Angie Yingling 4/27/05 Page 63

Oud62

4A
59Q
16 A
17 Q,
IBA
19
20
21
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00064
EQ

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2A
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10 A.
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ordinery talk that you might do, glus ten other things,
You are talking about everything al once. It is not
cemlered on that.

I do understand. Lt is sort of a passing conversanon?

Yes. Just fleeting moment, 1 knew they wanted lo get
things changed, } just didn’ know it was going to be
this bad.

By this bad, this comraversial?

Yeah.

How about looking at the same period of August after the
Vote approving the wacher recommended text Biology and
the October [Bth, 2004 meeting an she curriculum change,
any discussion of OF Pandas?

E think it was, yeah

There was?

‘Yes.

Can you recall whe you had those discussions with?

1 think it was Bill, Just about the book. He thought
il was a good idea. | didn'L say too much in my
truthful -- the way I thonghi. You know, The book is
kind of a like bit weird. 7 didn't say that, but i
thought it,

But] didn't want to upset hires because be has
enough problems. | didn't want to upset him.

Okay.

Angie Yingling 4/27/05 Page 62

And when you say vote like he wants, what did you
understand?

He wants intetligent Design, you know, more ideas and
theories thrown out 1d the kids.

We gelto the October meeting. And as you know, there.
wert & Couple of versions of curriculum changes in front
of you?

Yeoh,

Bo you recall discussion relating to those changes?

¥es

Teil me what you can recolled i adything, jus! about
the varying vervions and $0 on

Well, you've gos the team of Brown and Brown, you know.
that don't really want this. I mean you know. They're
upset. | mean you know Board members don't -- because
you are al? talking about it, and il comes up tacy don't

want it,

Noel is extremely religions, too. And | don't

really retnember Noel, but I know Noel was talking |

don't remember everything that he said. | know Noel wns

talking sbout shings, tas.
You know, just the to sides going head to head on
ahis stuif like they do. | really wasn't in thal, you

know, None of it is my thing. The bio textbooks and

everything are nol what } wanted to devole my time and

Angie Yingling 4/27/05 Page 64
 

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D0G6S
ts gnergy.
2 York County High, the School of Technology, that

3 type of thing is what | am really into, you know,

a budget, More money items, not this. But [ know they

5 weren't petling along. They argued about it all the

6 uri.

7Q You mentioned Not! Wesich?

& A Yeah, Nocl.

9 °Q. You said he was very religious?

10 A Noel is deeply religious I think.

IL. Did he agree with Bill Buckingham?

12 A. That's the ching. They fight about it, but yet Noe! is
13° -veryrreligions, But they were fighting a Jot, a lot of
14 fighting, but this is mostly one lo one. Me and Heather
in always happen to be in the way, and the seats are

16 flying. The chaurs are Shying wround,

n You know, it had nothing to de with me and Heather
18 thot I zeally remember. We arc quict about it, They

9 are the ones thal are almost fist fighting about it.

20 They are throwing cheirs, And il was really geting

21 heated. tt was really bad | thought it was going to

az go. I realty did.

22° Q. Were they discussing thr various proposed cwriculum

a4 changes”
25 A. Yeah.
Angie Yingling 4/27/05 Page 65
067

1 Q lt seems from what you are saying the executive session
2 Js discussing the proposed curiculum changes?

3 4. Iustinformal. Very informal,

4 Q And this heated argument broke out berween Bill und -
3 AL Noel

6 Q What do you recall Bill actually saying?

7 A Den’ you believe in Gad? | remember that, Noel fuse
& went after him how dare you? Noel went after him And
9 Bill stnod his pround for as sick as he is. Bill stood

a his ground, and mych oider than Noo] } might add.
V1. What was the reaction of the other pcopls in that mom?
12 A Everybody is just tying to get out the door, Everyhody
3 38 just literally rushing aul the door, everybody.

i And mé and Heather are caught right here with

1s them. We were in the Seats with them, which flew. The
16 sears Zlew in the air.

7 MR. ROTHSCHILD: God or human lifted?

1B A. Both, The gore of big men getting up real quiclly,

Ie ‘They are both big men. They are tall and substance ta
20 them,
21 BY MR. GILLEN:
22°. Was there anything else said in thal eacculive session
2300 relating ta -~
24 A lamsur.

2335.0. Can yourecail?

Angie Yingling 4/27/05 Page 67

o00G6.
1Q. Did-you play ary role in shaping those proposed

2 cumoulun changes?

3 A. No.

4 Q  Sowhen did you first see them, shorlly before the

5 meeting?

6 A. Hiwas afler the meeting, It was after. It's the

7 executive session stuff that they are really geting

& into it. But that's becapse Bill -- you don't

9 understand .

10 Iyer don'l go along with Bill, he thinks you are

I an atheist and questions your religion. You can't do

2 that with Noel. You can't do that. Noel got violently
13 angry, They abaost wend 10 blows with fists, And the
14 chairs were fying because Bill says you are an atheist
15 Wyou don't po gong with iL

16 QQ Along with what?

1? A With him, with this Inielligent Design. Hill thinks you
18 don'| believe in God

19 Q. Was this in the executive session?

20 4. Yeah. Yeah, Heathey and] though! we were going Io eel
it, yeah, right in il, And the chairs were flying

22 ght over us. We thought we were going to gel punched.
23-4. just wane lo get ati understanding here for whel went
24 on.

25 4. Tt was really bad.

Angie Yingling 4/2708 Page 66

D068
TA. Idowbe il, T know the fight There's pushing and

2 shoving, and everybody just got cul quickly.

3Q Ok.

4A. Beceuse Bill kind of questions your religion when you
5 don't go along with i. That's why cverybody takes

6 offense, But Noel doesn't bike that.

7. Okay. Now vow have said thal you had the sense Bill wes
& questioning your —~

9 A Tehink he does | don’t chink be means to do it,

10 bur he does it, yeah.

lt Q Give me a berter sense, Angie

12 A He just thinks that | thik [ike with really, really

13 religious people, you are supposed tp go out in the

i would and testify, if you will, to other people thal you
15 are religions, and that you believe im God, and Cind 32
16 ienportant and everything like that.

iv E think that people think you should do this, that
4B are dike Alan and Bill and like Noel, you should, Noel
L? has invited me to his church several times in Lancaster,
20 but itis too far to dive. Aut | go v0 the same kind
21 of church Nazarene thai Noel goes to. And they do wanl
22 you 66 do this.
2a J don't attend every Sunday. Noel attends every
a Sunday oo maticr what | don’). 7 believe they think

25 you are nol being a good Chrisuan if you don't do thal.

Angie Yingling 4/27/05 Page 63
Done?

20.

TA
Ba.
oA
16
na.

a A
4Q@
i
16
FA
1 Q.
wb A
20 Oo
at
2A
a9.
24
25

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2A

me

HO.
In A

i?
1B &
Io A,
2b
2)
229.
23 A.
24.9.
25 A

 

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Thal is how F feet.

That's what 1 want to get at, Angie. | know that you
havea Seehing. [ understand, | think | have a sense
for the context that produced that. But like Eric, what
is really important here is kind of wher was sadé
‘There's sort of what you feel.

Yeah.

And wheal was said,

You ave saying thal perhaps I am getting an idea when [

shouldn'. That could be.

J want to be fair, That's my goal here, to find out
what you know.

Okay,

Bult there is s big difference between people ualking
about their religion and making you uncomfortable
‘because you think il is an importan! personal matter.

Right.

Aud people saying I want to witness my fith,

Absolutely.

And you feeling uncomfortable because you feel | live my
faith through good deeds and charitable words,

I do.

[understand that. But what we are talking about here
3g thig sense you had (hat if you didn’) vote the way
Bill -~

Angie Vingling 4/27/05 Page 69

A religious conviciion lo a certain measnre,

‘Noel and | are definitely Griends, [really enjoy his
two lite kids. 1 have been invited to his house many
mes With his som cooking. His mone is qnile @ cook.

They are more friends, more personable, ona

personal Jevel and Frendship level than Bill or oven.
Alen. Alan invites you to his bouse a bot, tut thal 35
ahvays politica?

‘Where Moet is like, you know, come for dinner just
tohang out. Because my husband died, they invited me
for dinner a fot, especially when: he lived dows in.
Dover, ant anymore. He is way joo far away now. He did
invitg me, you know.

Well —

Soverat times, Eke thror or four ta dinner that | did
go. A couple of times, f coulde't, ‘Thry have dinner a
lot, like inviting people in.

And Junderseamd What | an trying ~

We have exaclly the same religion so we are more on the
sarc railroad tacks, you know, ihe Nazarene railroad
Lacks.

Got you. And what I am oving lo~

J commnnicate bener with him.

Sure.

But Noel can be viotent loo, don'l get me utoog. Noel,

Angie Vingling 4/27/05 Page 7!

 

00076

V7 A
18 Q
1D A
20.
2A
22 0.
2A
2

25

0072

- wow

w

Right.
or Alleg wanted you to vote, you have the sense they
would Feel you were not a Christian?

Not & Chistian, plus probably bebryed for friendship,
too. Tbave done more for Bill than Alan, So we are
frends, 100. I'm sure be dorset feel like this any
mare. 1 think he feels { betrayed him by going against
hin - or the Board, notin person or anything.

I never did anything ageins! him, but he fects

this is against you i!’ you don't go along because he
thinks it is important

Now [ don't want to belnbar this point. What [ want to
do is focus yeas and me on whal was said, | want to ask
you: Did Alan Bongell ever say anything Io you along
these lines if you don't vote foe the curriculum change,
you are nat a good Christian?

Wo, not Alan | don't think Alan would do that.

Did Sheila Harkins ever say anything ta that effect?

Never.

Did Heather Geesey ever say anything 19 that effect?

No, not that Precail right now, na.

Did Moet Wearich ever say anything to that effect?

Noel and [had in depth conversations abou, yor know,
this, yes,

My question was imprecise. I understand that you share

Angie Yingling 4/27/05 Page 70

I haven't vored Nos!'s way a couple of iimes, Like the
building project, this isn't religion. This is the
building project that my vote caused it nol to keep on
going. Idon't shink Jef and him were very happy. Bul
Thad @ reason because Jthorght it was too nmch money.

Sure,

‘Thar ip why I dirt that.

You know, what | am oying lo da here 35 foons on the

curriculum change.

Okay.

And distinguish the feeting that you had.

Noel and | did hast conyersations about that actually
Tthink we fect the same, « little bit pressured.

And, again, | want lo take the feeling off it and focus
on what was said to vou.

Okay.

And ask you: Did Jane clever ever say lo you, Angie, if
you dow vote for this, you are nol very Christan?

No. no,

Or any words to chet effect?

Jame woulda'l, Janie is veTy well-spoken and
sophisticated She docan't dole out threats. Janie is
De tike that She is very. vory just mannarty and very
wellspoken, She doesn't ever like accuse or maybe

accuse. Do you know what] mean? Saying like maybe you

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our?
1 Q@ Bo you snderstand that those ehree theories -~

2 Evolution, Intelligent Design and this Alien Theory —
as something distinc! fom Creationism?
AL Well, ] think that Cyeationism ties in with all of them

toa point. You can read that in it such as where did

3
4
3
6 it seally come from, if you really start asking
? questions.

z But don't chink ~ 1 know what they taught me in

9 ninth grade at Dover, Plain and simple, you are in and
Wb out Of iL in one minute, You take the test. That is

lt it Youjust keep moving on. | do retnember it.

2 Nimth graders minds aren't really sitting there

13 wondering what happened 2 billion years ego anyway.
l4 Thal is nol what their mind is on. | was a ninth grader
Ls once.

16 MR, ROTHSCHILD: Please ‘e's nol go down that
iF road, Pat and | both have kids on that track.

18 A. Mostly getting a car and car insurance was the hwo

1 biggest things thal sicod in my way.

20 MR, ROTHSCHILD: That would be perfect.
2 MR, GILLEN: |r is certainly more clevated than
22 me.

27 BY MR. GILLEN:
24 Q. When thal mocting came yp, | am ipoking now af the

28 public comment,

Angie Vingling 4/27/05 Page 77

aoo79
1 origuts of life?

2 A Yeah. 1 believe she yelled chat, we do not. [ris

3 important Lo her not ta teach it.

40. Were there any other discussions from the public comment
3 shat come tomind? Was Barzic Callahan there?

6 A. Yes, she's always there. Always there, Every meeting.

7 even planing. You have planning and the Board meeting
& ~ the public Board mesting. She is always at both

9 Weary few rime, she is nol.

10 De-you recall what she was saying or anvihing she said?
li A. She doesn't want it. She is always complaining ghoul

12 it,

13 De you recall what her reasons were for nol wanting it?
14.4. She thinks you pre doing damage ip the kids, She does
1s believe you ar: damaging the children with it 1 know

16 thar.

IF | mean some of the stull she says ] guess makes

13, sense. She doesn't agree with it at abl. [tis a bad

19 idea, You are upsetting the teachers. You are

20 upsetting the public. You are upsctling che taxpayers.

21 You art upsetling her, the parents, because she has

22 kids. [ mean she is night our with it, She doesn't

2 hold anything back.

24°Q. Righa

25 A, She docen't beligve you are doing a good thing, and she

Augie Yingling 4/27/05 Page 79

FA

nd
A
39.
4a
15.9
16 A,
179
18

9 A,
20 9
2A
2

gq

a4

259

 

Okay.

Do you have any recollections of public comments made in
connection with the contemplated curriculum change at.
the October 18th meeting?

Yes. They weren't bappy as usual, ves.

When you say they --

The usual gang.

Just give me —

Callahan, Snook, all of them. They're parading up to

the podium,

That is one group of former Board members?

Right.

“And then were the (eachers present?

Yes. They always are.

Was Berl Spahr present?

Yes. They always are,

Do you recall whether Bert Spahr addressed whether the

teachers were teaching origins af life?

Yeah, yeah,

Bo you recall?

lam pretty sure she did. She just wants to know what

is going on and if they are going to be teaching that.

She is not happy about it obviously, very unhappy about,

it.

Do you recall whether she said the teachers don't teach,

Angie Vingling 4/27/05 Page 7B

soils you right car Yes, she is involved with the
school with her children, She's a parent, not just 4
caxpayer, a conslitnent, maybe somebody that voted for
you, maybe somebody that doesn't bke you, She makes
that clear,

But J mean | guess she does have merit because Lhe

parents shonld be there. More parents, different
parents would be nice rather than same people all the
time. That is all it ever is.

Even like the big debate thal we just did, it is
abways the same people. I said that 1o several people
in the room do you sce, it is ahways the same teachers.

Think Dr, Nilsen requires the administration to
be there of least at so many meetings. Iam pretty sun
they mus! be then, You should be lo know what is going
on [is always the same. Is would be nice lo see
some different faces.

Again, thats where you become complacent and nat
listen to them beranse it always the same poople vp
there complaining abcan the same thing. They kind of
sound the same because Lbey are always complaining. Il
sould be a different subject, but they are elways there.

do understand When you voted for the change despilz
Ine objections, | know you have referenced thal Bill
asked you if you could stick with him?

Angie Yingling 4/2745 Page 30
OOO8L

20.Q
21 A.
22.
2

2A
230

oudss

1A
4Q.
5A

no
25

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Right.

Different theories?

Yes.

Was there anything else that was a pert of your decision
al the time?

Well, I guess initially, I never kmew it was going to
cause this much bouble or get this big or even go this
far. Who would have ever dreamed? [ didn't think so.

I mean Noel told me that Bill wants to lake this
to the Supreme Court. I just fatally dismissed Noel. |
said stop it, Noel, like you're azally blowing something
out of proportion. Thal is wha! } meant. Fwasa
Little bit aggravated with bim. | said stop, yor know.

T never dreamed it would even go this far. Now
even as far as il went before his. | didia't zeally
think it was going to blow up bike thia or cause this
much provlams or damage, you know, a5 in gerting
lawyers, everybody suing everybody. Half thinking ong
way, half thinking the other.

Okay.

Which is like splittme everybody. They are arguing.

I know that since you voted in October, on October I 8th,

you have changed your view?

Yes.

And. you have mferenced a comument that Mr. Bockingham

Angie Vingling 4/27/05 Page &t

you about the comment you made conceming [eeling
pressurs —

Yeah,

~ because you mighi be considered unChristian?

Estill feel pressure. Even though [ am completely off
the Board. when } go ia and sit down in the conference
Toom where they pul you, they take you there. You're
not allowed to be path the pablic for ihe debare. Alan
doesn’t talk (9 ng.

You can feel it. i's divided everybody. I's a.
big divide. Iris like the 809 ponnd gorilla is what
dhe newspaper calls i, and itis. You might nol talk
about it, but it is there.

Aad the other ntembers glare at pou Itas nol a
pleasant took. [cis not hey, how are you dong?
Sheila always talks tp me, She is not like this.
Holding these: grudges and fighting aft the time, Sheila
is not like thet. But some of the other anes ene hike
it is personal, it is not just political and business,

Irs like running @ 33 reillion dolla: business.
That is what you are doing. Thal is you job, His
like a comporation, even though itis not, It is public
education.

Yes. And J understand what you are saying abour the
lobbying and the potilical things.

Angie Yingling 4/27/05 Page 53

 

0082
t

24

Pom a KN em

&
>

DO0es
LA

7Q
3A

24 A.
28

tasde that you fit under pressure?

I did feel pressure, yeah That comes from other
confrontations, too, thal wouldn't even be about this.
Do you kiow pyhat 1 mean?

Wthty are expecting you to help them out, you're
expecting a friend ta show up to help you move, and they
don't show up, and you have got four friends instead of
eight, boy, your back's talking to vou,

Kis the same deal |) comes il is like, you
kaow, like 2 Damino Theory, boom, boem, boom. | mean
‘Bill lets you know. Alan and Janie aren't like that.
the ones thar -- the otter ones.

[mean | think that Bil and Atan and Janie and
Noel would be, and Heather (ua degree, but Heather
isn'Lin with my grouping of Alan. Bil, and Janie aid
Moet as really being vary, very deeply religious asd
letting people know about it~

Sore.

— 85 a conviction and promise fo thei church probably.
3am jusi saying that. E don't know that to be a fact.

And —

They didn't say that, you know. Bal they are doing what
they think they should do,

Let me just ~ | am trying ro focus on the Teasons you

have rethought your decision. And] know Eric has asked

Angie Yingling 4/27/05 Page 82

Tt goes on ail the time. 2: is juss politics.

Sure,

Was what they do.

Cet me ask you this: Lis just politics except 1 think
From what vou have told us today, you viewed Bill
Buckingham’s comenent to you, thal wasn't politics?

He has 2 way of offending people, He is getting too
pavch into it, ] guess he considers this as his
personal, you know. like baby that he is watching grow.
You know? Like taking a plant or puppy, you have a
personal thing that you realty like, and you are gomg
to waich it grow. That's how E feel.

‘Well, and ~

Lihink Alan bas always wanted lo change it, but Alan
isn't overt like Bill is. Aon is more reserved tike
his wiom and did are and his grandma. He is more
reserved and snore quiel and, you know, low spokem.

Sure,

Whereas Bill is out there swinging like with Noel. He
is righ! up there.

And what | am trying to eel at, Angic, is you have
indiceted now looking back at il, you think | didn't
make the right decision. T would like to change it,

1 just want lo go back a littl: bit and let's stl down

again

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ODORS
& Q. Sit down for whal purpose?

2 4. Torethink these things and talk about it a little bit

3 tore, That is ait] wanted. I disn't think ] asked for

4 that much,

45 QQ And among the considerations, I want lo make sare ?
4 untersland you. There's a couple of considerations you
? Aave referenced that have prompted this rcthinkme of
3 your vote?

SA Right

10 Q. We know there is a comment you akt Bull made?
271A Yes.

12° Q. You said there is a divide in the commnntity?

13 A Yes, isis.

14 Q There is disapproval —

15 4, Yes.

ie Q. -on the part of some peopie?

{7 A Absolately.

L8 Qs there anything else that explains why you wanted Lo
ES revisit it?

20 A. The cost, The cast of trying to change everything. [
21 mean the cost is going lo be tremendous,

22.Q. You think it is just not wosth it?

23° A. Yeah, yeah [ think thert can be some more important
24 things that we have got ta be focusing an. [takes

23 your attention away from everything else, and nothing

Angie Yingling 4/27/03 Page 85

DOD?
1 volunteer job. HH isn't like we gel paid or anything.

We spond a Jol of time and effort and of ow own
monry beiping kids like donating things. With York
County High, something tike that, E always gave them
money for books and things in there, the kids that I
would get involved with,

The taxpayers feel that you owe them an answer,

which T think youdo, Like what are you doing with my

we me a FR wR

money? Well, you need to be accountable. You can‘i
10 ‘Josl puss the buck to Dr. Nitsen or Denise Russell, who
i used to be the business manager. You can't keep passing
2 bucks. You are like the bottom, the end, the buck staps
13 here, you katow.

14 Aid ike voters would say that to me. You arc oot
i goitig to do this and chat because that's going 10 cost

4 ‘ws money, Siop doing that. | chink maybe we should po
back and Jalk abont if and maybe get some community
ua angwers.

i ‘These taxpayers are yelling at me should come in

20 ‘with a group, and we all sit down and rethink it and

Zl talk aboul it, | mean they should talk to Alan and

22 BiH. My neighbors who were complainmg, there were
23 three of Thom, they shonld come in and talk with Bilk

ae and Alan

a4 Bill and Aton aren't hearing what | am hearing.

Angie Yingling 4/27/05 Page 87

C0086

Woot

on

wow on

DONORS.
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4A
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6A
7Q.
aa

204
21
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2

24

else pets dong. [think if is going to be apful
expensive.

Tkept telling Alan that just like the paper seva,
Dmean there could be lawsuits. 11 could be expensive.
There conld be a Tot of problems.

And everybody like Steve Russell, na. no,
everything is fine. You tink you should listen 1¢ yout
School District solicitor that everything is going to be
fine, Bul as il got bigger and bigger, the problem kept
like a snowball, you know. You're thinking this may be
expensive.

‘Okay. And | do understand ~

And, of course, problematic, too. Expensive and
problematic,

By which you mean the tension in the community?

Yes, and they are not agreeing, And my agighbors are
slanding in frent af my car bitching about it whal are
you doing? And they will yell at you as you go by. It
caused problems, and it still is.

They are not over yel, that they don't agree. |
guess they think well, [ put you there. 1 voted for
you, but now you are doing something that C dan’ agrec
with, Sa what are you doing?

Thee just question you righl oul. Us, us, che

taxpayers are cespensible for vou having -- it is just a

Angie Yingling 4/27/05 Page 86

‘They are very adamant abour il, They have an opining,
and thal has to count,

Yes. So itis —

That's what Lends jo Labtry me in their way.

So il is that constituent pressure?

¥es.

And these consideralions?

They put you where you are at They will tell you chat,
which ig a bith: bit embarrassing if they think you are
going agains! what their wishes are. So why are you
doing that? ‘You know.

if you say well, | am just helping out my friends,

Bill and Alan, wha probably think it's a good idea or
Heather or Janie, then they say jock, we are paying the
Bill for this, stop doing zt.

Okay. Now wm J right, Angie, that you are naming for
School Boart? Did you mention that?

‘Yes, two years, nol four,

Did you say you are running with the Browng?

The Browns, Mrs, Brown wanis to be written in. Ske
didn't want the conunitment and the fighong. But
Mr. Brown and I came back sort of'on our own little
ficket berwcen Daves School Board and berween Dover
Cares.

Dover Cares is 2 lakeoff of Bare Callahan's Inst

Angie Yingling 4/27/05 Page 88
 

 

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OOS

1 eleven. You are ahwrys in there. Back then, | had to

z rive him bath ways of hire » babysitter 10 do it. Fhat

3 is when 1] started really getime involved. 1 is 22

4 years of service since he has heen five up there in

5 Dover, just Dover, that's it, po other schools.

& Just ¥ork Coumy High and the School of Techuology

7 because he went there then. | went there far classes,

& I shink it's @ good program because 00a everybody is

3 Beared to college cr prepared ov able for it ] think or

1 financially able to go m Dover.

ul MR. ROTHSCHILD: How moch longer do you think,
Iz Pat?

3 MR. GILLEN: Not too much longer.

14 BY ME. GILLEN:

73-Q. You mentioned when Eric was questioning you that you do
ib remémber Bill making & comment about hwo thousand years
iv ago?

58 A. Yeah, He wasn'thappy. He gets toc upset when people
i don't agree with his. You can'l get all whacked out
20 yelling like that on a Board because it happens,
2). Thal is whot [ wanted to ask you. Was he responding to
22 comments made by someone what he made that?
23 A Yes. Him and Mr. Brown are always fighting They are
24 always going at i because Mr. Brown takes offense, too,
25 to his comments.

Angie Yingling 4/27/05 Page 95
Ono95
J] Tight? She said yes, it was June of 2004. [ said okay.

2Q  Letme ask you that there have been same quotes here we

3 have discussed ioday, quotes that have been atmbuted
a to Ball or attributed to you. Have you had experience
5 with inaccurate reporting iy the papers?

oA Yes.

7Q. Giveme who —

3 A. Their business is to sell papers, They are going to

lo
Hi
Iz
i
14
15

20
ZL
22
33

3

sensationalize, That is whal the paper does, they seft
papers, you kow.

. Have you hed over the course of this dispute —

AL Yes,

Q. — have you seen reporting thet you knew was inaccuralc?

A. [think they exaggerate to sell mare papers, yes.

Q. Can you tecall any specifies that sort of prompted that
thought on your part?

A. Iris all de time. The newspapers do exaggerate to
Imakes things look worse than they do to sel papers.
You wilk walk by and say ah, gird you will pick il up and
buy it. Tha) ig what they wart,

Yeah, | think they do all ihe ome. Everyday.

@ Do you feel like thal cxaggormtion has been pan of the
reportme here?

A. Yes, they ave right on this. Bart this is big, yon know.
They made it big, too, you know.

Angie Viagling 4/27/05 Page 95

 

O0094
1Q. Tohis comments —

2 A. They are fining i1 across the table al] the time,

3 .Q. Takes offense to Bill's comments about what?

4 A Religion, yeah. He takes offense because J guess the

5 Browns don't think it belongs there in public service

6 Q. Well, let me ask you when Bill said that, do-you havea
7 recollection whether that was in Jue of 2004 or could

8 it have been another time?

3 A. lasked Mrs, Brown because Mrs. Browit bas documents.
iD She saves cverything, and | dom'L. Casey said it wes

tH Jone.

2 | said when was this? [remember ictike

iB yesterday. | just sit there with Sheila and oh, boy,

l4 here we go. And Casey said ir was June,

15 Q 0 Bot spart from whal Casey ~

16 A, But | don't have notes.

17 Q, - Brown told you, do you have any spectfic zecollection
13 of whether it occurred in June or maybe at sometime

19 before or after?

20 A. Tihink twas Jume. | dos't think it was before that

2) because Mr. Brown says il was Novernber before that with
22 the Pledge of Allegiance. But ] don) renanber thai,

23 You are going back two years now, November,

24.Q. Tde. And everyone who has been asked lo testify —

25 A. [asked Casey specifically. ] said it was last summer,

Angie Yingling 4/27/05 Page 94

nong6
1 Q. What do you mean by chat?

2 A Butitiz big. 1 think they have splanered it

3 everywhere. People are so sick of Joking at Dover in
4 ‘the paper, and 50 am [.

3 [think you will rend not 50 sead it, [ think

& 3s going Ic pe against them. People come up lo me and
7 soy if] see Dover in the paper again, { ama going to

Bs yamil. If [see Dover in the paper again, | am so sick

g of it, What is the matter? | know.

0 Ttis like we are akways in the paper. So thea

it people think there is something wrong with us. Sof
1 gress if you are arguing all the time, there could dt

13 something wrong with you, Ifyou are always fighting
14 with people, thal is not normal either, you know. IL
15 does make ue look bad.

16 Q. Leta ~

27 AT think we look bad. | think | look bad

1B. Letme ask you about Joe Maldonado. Enrlicr Eric showed
te you 2 quote,

20 A He is abways there, He is like a frcrure, He is always
21 al £vory meeting. and he 35 imo it.

22°.Q. And by into it, you mean?

23. A He is inte afl qhis. He listens more intently than any
a4 reporter } have ever scen. J mean he does his job and

25 way over.

Angie Vingling 4/27/05 Page 96
O0097
ga
2
3A
#Q
5A

230
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1Q

2A

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ED A,
2) 9.
24
22 A.
23
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25

 

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When he reported you sayang that many on the Board had
Pressured you ~

Right.

‘You said today ~

1 just made the statement | feel pressured. E didn't
say many. I said | feel pressured.

J believe you testified today that i1 was Bill who ~
[think [oid him that. He’s there with Bill yelling
at rex, How can you not feel pressure when someone is
over there yelling at you do you know what you have
douc? You have ruined everything.

So in that instance Jog Maldonado's reporting was
ineccorate?

He sensationatizes es to sell papers. His money. It
is all about money.

Do you believe that he has done that at other times --

Jam sue,

~ In Teporting disputes?

Tjust can't pick out a newspaper article and read if to
oul of ity brain. 1 don't have that kind of
recollection. but | ant sure that yes, that would be
uc. Definitely, definitely.

How about ihe other reporters who have been sert of
focused. Heidt Bernhard Bubb far example?

Heidi, 1 forgot aboul chat one.

Angie Yingling 4/2745 Page 97

Well, in an effort lo ~
The comment makes you feet bed. You know what | mean?
I rican some of the stuff Bill says makes me feel bad
Yon know, bike you are not gratefal that somebody died
For you, | asswme thal is what he is mving to ect
across lo Mr, Brown who be is yelling at across the
tabk, that Mr. Browa is ungrateful.

Me. Brown just takes il te other way.
Du you rtinembe that camument being directed to
Mr. Brown?

Jdhought il was lo Mr. Brown. Like the Mushims and
everything. they fighl Him and Mr. Brown go-at it like
him and Mr, Wensich. They go at it

[don't think - people like Sheils and I, we are
not info that hand to hand combet, f you will, We are
mort laid back.

You've mentioned that it is your sense that Intelligent
Design speaks to the exislence of God?

Yes.

Let me ask you again; Da you recall any other Byard
members saying that?

Well, you kaow, not really like that, no. Mot like you
are saying it, no, I mean they don't stand np and say
this is God. Now you people vote for it,

They don't do that, bo.

Angie Yingling 4/27/05 Page 99

 

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1Q

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BOA.

2A

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1a

2A
3.
th

17Q
WA
8Q
MA
2

22.Q
23

A.
23 Q.

Have you had an impression as you went along that she ~
Yes.

— has been inaccurate?

Yes, I don't have any personal experience with her, but
yes, yeah, She more goes for Alan and whoever is Board
President. | saw her making a beeline. She wants the
top, the President or the Vice-President. She is not sp
tnuch into the Board members. | noticed that she poss
for the top, yeah. It is more — that's her thing, bur

itis everywhere.

How about Lauri Lebo, did vou have & sense as you went
through thal Lauri was always inaccurate?

My opinion of Lauri is she is really aggressive in
getting her story and trying to find you and tying to
teach you like an aggressive reporter. Whereas other
two are more whatever. They wail just take whoever is
thers. They don't care.

Lauri more goes afier you, Like she is tore like
tracking you down. The other twa. no, they don’t track
you down. [t is whatever, whoever is there.

is it possible ~ dp you remember whether Bill
Buckingham could have spi that comment to Uke elect
that Christ died 2,000 yoars ago nore than once whale
you were on the Schoo! Board?

He could have. 1 know thal he is into that.

Angie Yingling 4/27/05 Page 98

Did you think that other Board members made that tink?

I think so.

Why, Angie? Sust tell me.

Tehink ! feel the same way as Bill when you walked into
that science eng and sce that paprofessional very
anatonsically graphic pictere of the apes, ix does
definitely offend you. It has got tp affend some
People. Probably morc than fifty percent [ would say
would be an educated guess.

Ieis kind of strange mural. It was kind of

weird. 2} mean il is chfferent tike just siting in bio

Fike I did in ninth grade, ory Gor we are going back
here 33 years, Vhad Mr. Meyers, bio teacher, and he
snys it in one second and goes on.

When you see die murnl, it is bound to offend some
people. can see his point.
‘Fhe mural -
¥es.
— being offensive?
Absolutely. Ibis. ] mean itis like ape aud you, only

in male.

You have referenced this nowon that you think Bill was
grateful in trying Io give something back?
Yes, | do. ‘

Ls that based on generalized discussions about his

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2010)
i religious convictions?
2 A I think it ts bis health problems. 1 dunk that he even
3 atwibutes God to being ative, By rights, he probably
4 shouldn't be being thrown off thal balcony like he was,
3 taking that kind of fa) from that height and a bullet,
6 Q. Ido get that, but what | am trying to say 35 is that
7 his antitude towards life generally, or was il his
a atlitude specifically as he approached the biology
9 curriculum?
MIA J think towards life.
11 Q, How about Alan? You said be has made statements to the
Wz effect Ukat God has been good ta me?
13S AL Yes.
24 Q. God has been good to my wife?
1S AL Yes, he is. But Alan says it an awtiy int,
1& (Ide understand thay. And I pnderstand when you say |
17 am uncomfortable with that,
18 A. [tis other things, too, Iris notjnst thal. With ail
9 of the campaigning, you go into Alan's kitcher/bathroom,
20 and there’s this huge sign bn front of you when you are
2h ‘trying to go (o che bathroom that says have you thanked
22 God today. There's other things. iris like wow.
a3 Othe: Board members have made comments to ne aboul
24 it, loa. | am not the only ong that foels -+
23-0. Lunderstand, Angie.
Angie Yingling 4/27/05 Page 101
UO1O3
1G. You have indicated that people have tied to persuade,
2 and C know that Bill you recall making this comment (hat
3 made you very uncomfortable?
4A. Yeah,
$0. Was there anything else in this process as we go through
6 it wien people uying to persuade you one way or the
7 other on these issues, the biology lexl, Of Pandas and
a People, the curriculum chatige that you thongh! was
9 outside the ordinary Tealnt of Schoal Hoard politics?
10 A. Boy!
L1 Q  Focps on the Board members.
12 A. Thal js going back in your memory. II has keen going on
13 so long. And like you know probably walking down the
14 halls with Mr. Werrich, wr talked about iL, like what a.
15 mess,
4 Liegiember walking from executive session ic the
17 Buard table with Mr, Wearich, like we discussed things.
18 Like Mr. Brown and Mrs. Browm and! do, Ms, Casey Brown,
19 what a mess.
2b Like il is like predictions. Like this could
25 really get bad. This could really grow. This could
22 really get inta something that we probably don't want,
2 Like me an Noel, Noel, bish, blah, blah abont Bilt,
a Ty ig always tike dhe same with Noel and |, chat
25 Bild wants to take it to the Supreine Court, [just go
Angie Yingling 427/05 Page 103

 

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25 A

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HO Ww ek ow ow

3

~ that ihey are sitting om your shoulders jamming i
down your throat, That is how you feel. You feel like
the religion i3 coming at you. You arg here, and oh,
boy.

Tunderstend. Let me just say did Alat ever say God has
been good ro me, and for Go's sake, | am going co make
this cwriculum change go through?

Wo. Alan ia not like thal.

How about Heather Geesey, did she ever say God has bees
good to Hit, C00, and F an going 29 —~

She just says God has been good to her, and she is
grateful for everything she has. Mostly ber kids who
arc healthy. Nor tike that, no.

low about Jane Cleaver, same thing?

No,

Did she ever make a statement along thesc lines?

Sie thanks God a lot, but nothing like that

Did Jane Cleaver ever make a statement ve yor to thie
oflect that Gad has been good ic me, and therefore | pre
going to rau this biology curriculum chanpe throuph?

No. Jost that God has been good to her, no.

One final thing, just an area [want to make sure
understand correctly You have indicated that a jot of
what bas gone on here, what you sce is just politics?

Right,

Angie Vingling 4/27/05 Page 102

oh, please, you have got to be kidding me, | zemenber
walking down the hall with Noet and Noel going that's
nota good idea, And | am thinking no, it is nos, not
Tor money.

Te's tike we walk around and verbally worry about
it, That is what we are doing, We ere making
conversadons and comunents thal we are worried. [| was
tnostly ike Noel, me, Mr. and Mrs. Brown that we wert
worried Liat thas is really going to explode on (hr
scene that you don't wank, | don't want it. They don't
wast it.

‘With those three ~ it wos tike four of us thar
were worried probably a little bit ahead of time. We
were worried. And I thought at that time, we were
worried for nothing. Linle did 1 ever know it would
get this big or [ would ever even be hereon thia
beautifid river talking about tt.

I thought that Noel was really being excessively
paranoid stating the Supreme Court about gnything. Thal
| remember,

And my question may baye been —

And Noe! would say to me do you think this isa good
idea? And like the bottom line is there is nothiag
‘wrong with some religion. People think this is to¢ much

religion, ike there's nothing wrong with a Hittle bil

Angie Yingling 4/27/05 Page 104
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of religion.
T think most of them would tolerate that, [is
crossing the line. |i as raising the bar too much. It
is ike just moderation in everything. That was the
soraments when we were all worried in berween oursel yea
i private Lule walking down the hall conversations,
Aud sne just thinking you are just worrying over

nothing. That is how I first took it. I didn't pealhy
realize: — and thal's when ! changed, wher] yealized it
is becoming an 8O0 pound porilia.

Jn terms of pocential conmoversy?

‘Yes. [think iis kind of dumb that? didn’: see it
coming,

‘What ] am crying to get al, Angx, is thas: A lot of
what you said is it was just politicking?

Yes.

Trying to gel votes in tine?

Yes.

Trying to get you Io stay with me?

Right,

You've mentioned 4 comment by Bill which is outsiie of
the ordinary?

Dkay.

Vote with me, or you are unChristian?

Right, right, right.

Angie Vingling 4/27/05 Page £08

heated exchanges end so on, are they about the same in
your judgment?

Well, there was ane time that Mr. Brown and Mr, Wenrich
were very maf al me because ] was the vole that said no
to go on with the budding project. They were very
upsel with me

‘The only one that was close to Bill is Noel. Not
Brown. Brown is more like furry, He makes things a
joke, You never really know what side of the fence

Mr. Brown is on.

‘What | ann trying to get at is the pressure that you felt
from Board members ta go their way. And what [ am
Dying to see, Angie, is this is a political Board?:

Yes.

People hald their posinons prety intensely,

Yes, they do.

Deo you think that those Pwo processes im forms of the
strength of the conviction of the members, the
activities they engaged ia ta try to get Logether a voir
of five were about the sai?

[think the one lime with Noe? is the same as Bill, ves,
the one time that Noel yelled at me,

Jpst the process overall.

The building project?

Yes, Has chat been the sane?

Angie Yingling 4/27/05 Page 107

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24 A.
23

Compare this ~- it seems 10 me after talking lo you that
thal is sort of the spocific thing you remember that was
ovtside the ordinary politicking?

Bill has been upact with me, He is @ lithe too muck
over the edge when he doesn't get his own way. Noel can
be very violem, like loud and like sort of coming after
you for things thal you probably don't deserve thal
much.

Het again, that ig just ordinary sort of interpersonal

relationships?

Vthink it ig a man thing. Thet is what [ think, The
firs don't do thes on this Board, Heather and Sheila
and Janic and me, we don't go after people yelling and
bellowing and waving our lists, We are not like that.

itis amanthing, It is the men that are doing

it wo the women. They ase gelting more upset thai

they probably oupht le be for a volunteer job, you know.

There has been a gicat deal of Board deliberarions on
the building project?

¥rah,

Stog right there. And then we look at there has been a
lot of deliberation end discussion about the biology
curticulum change?

‘Ob, yeah.

Ifyou compare the activilics of the Board members, the

Angie Yingling 4/2745 Page 106

That was a nightmare, too, trying ta cut money,
Let me ask you one other question about the October | Bth
meeting.
Do you recall speaking with Bryan Rehm at # break
it thal meeting?

Ehave only had one conversation with him, J called him
at his howse.

You dan’ recall speaking with him at the break?
No. L called him at his house

Do you secall what you spoke shout when you -

Yes, 1 told him thal he can’t rm for Board if he is
Suing the Board You can't sue yourself. That's what ]
told him, 11 doesn't make a lol of sense have to sue
yoursel

Did you make any comenen Ls to bum to the effect thal the
Board was spending its executive session [guring out
how to thwart his candidacy?

U said they were talking about him in the execution
sessiod, that you can'l suc yourself Thal itis kind
of dumb to sue yourself:

Did you make any comments to Mr. Rehan to the cffect that
the Board was working on a plan to ostracize him or
isolate him if he --

I dow't think anybody likes him. I think he comes

Across aS arrogant and condescending. That is how |

Angie Yingling 4/27/05 Page 108
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feel in dhe presence of Bryan 4 lot. £ know Bryan is
‘¥yory angry with cack and every one of us.

Did Brynn speak at the pubic. meetings?

Yes, yes.

‘When you were at the Boart ~

He has a very thundering voice. He ig very toud and
very lake charge and very pissed off | think that
would be a good way to sum up Bryan in nwo words,

Dering your tenure on the Board, were you disposed to.
credit his positions, or did you have the sense he was
complaining?

He is always complaming, like the rest of them He
complains @ lot. He is noi a happy camper, and he has
bees very unhappy with cach and cvery one of us, When
he was interviewed Io be on the Board with all the
resignations, be was hostite. He's not loo happy.

Did he participate in the meet the candidates evening
recently?

Yeah, yeah,

Did he speak 10 Intelligent Design?

Yes, He is very loud and very forceful, like his voice.
He is well-spoken, yet it is just this constant
condescending — like he talks down to everybody. My
assisiant Wonders why he doesn't teach al MIT and

Harvard, the way he acts sc superior to everyone. That

Angie Yingling 4/27/05 Page 109

Yeah iwent up lo ~Ttold Walezak who said that they
were sning the District, | wen to the State House. And
asked Cindy and Beth ~ Labways felt [could speak
with them, They scemed nice and defmitely open 10
talking. | talked to them several times.

But | mean the one thing that sticks out is [
asked Cynthia lo run. She said she is too busy to run
for Board, She sums a home based business which takes
seven days a week.

LT salked to Cynthia and Beth about what was the
fortter. ] meax why are you so upset about everything,
whe did you want? How would you feel better? They
have always been very nice to me, and] am able to tatk
to thom,

‘The cest of ther, no, | haven't spoken to any of
them.

MR. GILLEN: | have no further questions.

MR. ROTHSCHILD: | have np more questions. Thank
you very rinch.

(The deposition was conchaded al 12:50 p.m.}

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OO11G
i ds how iny assistant feels when he is bellowing to die

crowd, ] definitely feet that way, too.

J ay so talk to people just like they are prople,

pow ow

just like we are having a conversation. [ ty not (o be
30 Tehearsed lke Dover Cares is and so professional. [
think thet a lot of people think it's condescending, and
T agree.

it's like talking down to you like you are

Om

nothing, doa’ you understand bow brilliant fam in
physics and biology and everything.

=

1] Q. Did you see hon engaged in exchanges with other

12 candidates or Board members a1 the mectings?

i AL Yes.

14. How would you describe those?

15 A. Combative.

16% Would they be akin, similar lo the exchanges you have
17° seen among existing Hoard members curing your tenure on
1B the Board?

19 A. Yeah, yeah Weis politics,

20 Q. Have you spoken with any of the plaincilfs in this

2E  jitigation?

224 Yeah

73.Q. Who?

24 A. Cynthia Sneath and Beth Eveland

25 9. Can you recall what you said?

Angie Vingling 4/27/05

00112
) COMMONWEALTH OF PENNSYLVANIA

2

3 COUNTY OF CUMBERLAND

4 i, Vicki L. Fox. Reposter and Notary Public in and

5 for the Commonwealis of Pewnsykvania and County af
6 Comberiand, do hereby cenify thal the foregoing

? veslimony was taken before me at the tine and place

a hereinbefore set forth, and that it is the testimony of

3 ANGIE YINGLING

| further cerify thal said witness was by me duly

LE swoml bo testify the whoke and complete truth in said

a cause; thal the Iestimony then given was reported by me
9 stenographically, and subsequently transcribed under my
l4 direction and supervision; and thal the Foregeing is a

Is full, truc and correct transcript of my original

18 shorthand notes.

1? 1 farther certify that am not counsel for nor

14 relaied io any of the paities to the foregcing cause,

19 stor employed by them or the attonteys, anc am not

 

20 interested in the subject mater or outcome thereof.
21 Dated at Camp Hill, Pennsylvania, this 6th day of
22 May, 2005,

23

2 Vicki L. Fox

ws Reporter ~ Notary Public

Angic Yingting 4/27/05

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Dover Area School District, et al.

Angie Yingling
April 27, 2005

 

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